        Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 1 of 50



 1   Randolph Gaw (S.B. #223718)
     rgaw@gawpoe.com
 2   Mark Poe (S.B. #223714)
     mpoe@gawpoe.com
 3   Victor Meng (S.B. #254102)
     vmeng@gawpoe.com
 4   Samuel Song (S.B. #245007)
     ssong@gawpoe.com
 5   GAW | POE LLP
     4 Embarcadero, Suite 1400
 6   San Francisco, CA 94111
     Telephone: (415) 766-7451
 7   Facsimile: (415) 737-0642
 8   Attorneys for Plaintiff AdTrader, Inc.
 9
10
11                              UNITED STATES DISTRICT COURT

12                           NORTHERN DISTRICT OF CALIFORNIA

13
      ADTRADER, INC.                                    Case No. 17-7082
14
                            Plaintiff,                  CLASS ACTION COMPLAINT
15
             v.                                         DEMAND FOR JURY TRIAL
16
      GOOGLE LLC.
17
                            Defendant.
18
19
20          Plaintiff AdTrader, Inc. (“AdTrader”) hereby makes the following allegations against
21   defendant Google LLC (“Google”):
22          1.      This is an individual action brought against Google for its failure to honor its
23   commitment to pay AdTrader for the ad revenue that Google received from placing its ads on
24   AdTrader’s publishers’ websites through the DoubleClick Ad Exchange (“AdX”).
25          2.      This is also a class action brought against Google for its fraudulent promises that it
26   would refund or credit advertisers in the event that any ad impressions for advertisements served
27   through AdX were determined by Google to be invalid in some way. The falsity of Google’s
28   prior representations was exposed by the Wall Street Journal in an article dated August 25, 2017,
                                                                                             COMPLAINT
                                                     -1-                                 CASE NO. 17-7082
        Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 2 of 50



 1
     and exactly one week later, Google made sweeping changes to its contract terms with some of
 2
     those advertisers (in fact, the tens or hundreds of thousands of advertisers that use Google
 3
     AdWords) in an attempt to prevent them from filing any lawsuits against Google for such fraud.
 4
            3.      For years, Google has claimed to aggrieved AdX publishers that it was not
 5
     contractually obligated to pay out their accrued ad revenues, regardless of whether Google’s
 6
     reasons for withholding such payment were justified, because Google had automatically refunded
 7
     such revenues back to its advertisers.
 8
            4.      Google’s representations, however, have turned out to be untrue from the very
 9
     beginning. Many of its advertisers never got any refunds (or even credits) when their
10
     advertisements were run on websites that Google later claimed to have fraudulent or invalid
11
     activity. Instead, Google kept for itself all of those funds, as it refused to pay out anything to the
12
     AdX publishers that ran the websites displaying such ads with the supposedly invalid activity.
13
            5.      In the August 25, 2017 Wall Street Journal article, advertisers revealed that, at
14
     most, Google only offers to refund 7-10% of the amount the advertisers had spent on what turned
15
     out to be invalid user traffic, and Google claimed that “this was appropriate because it doesn’t
16
     control the rest of the money spent.” This is not a true statement, as in most situations, Google
17
     does control everything about how the money is spent. Most of the advertisers referenced in the
18
     Wall Street Journal article had their advertisements displayed on the websites of AdX and
19
     AdSense publishers, and thus for those advertisers, Google had complete control over how much
20
     of their advertising spend was remitted to publishers and how much was retained by Google
21
     itself. And for those advertisers that had their ads displayed on the websites of AdX and AdSense
22
     publishers with supposedly invalid traffic, Google actually kept all of these funds for itself rather
23
     than refund them back to advertisers.
24
            6.      The falsity of Google’s representations is best evidenced by the unfortunate
25
     experience of AdTrader. AdTrader is a company that helps website publishers monetize their
26
     content through on-line advertising platforms, including AdX. In May 2017, Google abruptly
27
     disabled AdTrader’s AdX account without providing a coherent reason, and withheld close to
28
                                                                                               COMPLAINT
                                                      -2-                                  CASE NO. 17-7082
        Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 3 of 50



 1
     $500,000 in accrued AdX earnings from AdTrader. When AdTrader pressed for the payments
 2
     owed to it and its clients, Google responded the same way it has to hundreds of thousands of
 3
     publishers for many years – that it could not and would not make any payments to AdTrader
 4
     because it had already refunded the withheld earnings back to the advertisers whose
 5
     advertisements were displayed on the websites of AdTrader’s publishers.
 6
            7.      What Google apparently forgot, however, was that AdTrader also helps companies
 7
     place on-line advertisements on various advertising platforms. And so Google did not know that
 8
     AdTrader and its advertising clients, using a Google product called DoubleClick Bid Manager
 9
     (“DBM”), had placed some of the AdX advertisements that ran on the websites of AdTrader’s
10
     publishers. Thus, Google’s explanation that it had refunded all of AdTrader’s withheld earnings
11
     back to Google’s advertisers rang false, because neither AdTrader nor its advertising clients
12
     received any refunds.
13
            8.      Google’s false explanation caused AdTrader to investigate, and its records showed
14
     that for the several years it and its advertising clients had advertisements on AdX, they had never
15
     received a single cent as a refund (or credit) from Google. They had never received any
16
     refunds even though, every single month, Google withheld a small amount (usually between
17
     0.15% and 0.2%) of accrued earnings from AdTrader on its publishing activities for what it
18
     deemed to be invalid activity and claimed to have refunded the withheld amounts to its
19
     advertisers. During these months, however, some of the advertisements that AdTrader and its
20
     advertising clients placed through DBM were displayed on the websites of AdTrader’s publishers.
21
     Thus, if Google’s explanation was true, then AdTrader and its advertising clients necessarily
22
     would have received some refunds or credits almost every month.
23
            9.      AdTrader also inquired with other DBM and Google AdWords advertisers that
24
     placed ads through AdX to see if they had ever received a refund or credit on their ads. None of
25
     them had. This is statistically impossible, because Google always determines that a certain
26
     percentage of impressions (between 1% to 3% on average) on any particular advertisement every
27
     month is invalid for one reason or another. Google did not pay anything out to its AdX publishers
28
                                                                                           COMPLAINT
                                                    -3-                                CASE NO. 17-7082
        Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 4 of 50



 1
     for those supposedly invalid impressions, but also did not refund the advertisers for the monies
 2
     they had paid to Google for these supposedly invalid impressions. Instead, Google confiscated
 3
     the money for itself.
 4
            10.     Thus, on behalf of all advertisers that had their advertisements displayed on the
 5
     websites of AdX publishers, AdTrader also brings this action to recover all monies that Google
 6
     withheld from paying those AdX publishers, but did not refund to those advertisers that had their
 7
     advertisements featured on those publishers’ websites. Back in 2014, a leading adtech company
 8
     had estimated that AdX collectively generated $1 million per hour in revenue for all of its
 9
     publishers, which would mean that Google has been unjustly enriched by tens of millions of
10
     dollars to hundreds of millions of dollars, each year, by retaining instead of refunding amounts
11
     spent by advertisers on AdX on what Google claimed to be invalid impressions.
12
            11.     AdTrader also brings this action on behalf of itself to recover the amounts that it
13
     had earned for displaying AdX advertisements, but that Google ultimately did not pay. Under the
14
     contract between Google and its AdX publishers, Google can withhold payment of an AdX
15
     publisher’s accrued earnings only if (i) such earnings were the product of invalid activity and (ii)
16
     the withheld amounts are refunded to the advertisers. Evidence uncovered by AdTrader,
17
     however, reveals that when Google decides that ad impressions generated on an AdX publisher’s
18
     website were invalid and withholds that publisher’s accrued earnings as a result, Google is not
19
     refunding that withheld amount back to advertisers. Instead, Google keeps those funds for itself
20
     in violation of its contractual obligations with AdTrader.
21
            12.     In the end, the monies in question belong either to AdTrader, or they belong to the
22
     advertisers. It is not equitable for Google to keep this money for itself, and this lawsuit is
23
     intended to force it to disgorge its ill-gotten gains and change its unjust practices.
24
                                                   PARTIES
25
            13.     Plaintiff AdTrader, Inc. is a Nevada corporation that has its principal place of
26
     business in New Jersey. AdTrader, Inc. was formerly known as AdTradr Corporation, and had
27
     contracted with Google under that name.
28
                                                                                                  COMPLAINT
                                                      -4-                                     CASE NO. 17-7082
        Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 5 of 50



 1
            14.       Defendant Google LLC. is a Delaware limited liability company that has its
 2
     principal place of business in California. Google LLC was formerly known as Google, Inc. at the
 3
     time the parties first contracted with each other, but was subsequently converted to its current
 4
     business form.
 5
                                     JURISDICTIONAL STATEMENT
 6
            15.       The Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332 because there is
 7
     a complete diversity of citizenship, and the amount in controversy exceeds $75,000.
 8
            16.       The Court has personal jurisdiction over Google because it transacts business in
 9
     California and because in the Google DoubleClick AdX Service Agreement, it expressly consents
10
     to personal jurisdiction in this Court.
11
            17.       Venue is proper in this district pursuant to 28 U.S.C. § 1391 because Google
12
     resides and regularly conducts business in this district, and because the contracts with Google at
13
     issue in this lawsuit have forum selection clauses requiring that litigation of all disputes is
14
     handled in the state or federal courts of Santa Clara County, California.
15
                                     INTRADISTRICT ASSIGNMENT
16
            18.       Google’s headquarters is located in Mountain View, California, and therefore
17
     assignment to the San Jose division of this Court is appropriate.
18
                                        FACTUAL ALLEGATIONS
19
                              Background on DoubleClick Ad Exchange (AdX)
20
            19.       Google is the largest online marketing/advertising business in the world. The
21
     AdWords Advertising Program (“AdWords”) is Google’s primary advertising program.
22
     AdWords advertisements are displayed in a variety of formats such as text and/or images,
23
     alongside or above search results, on webpages, in e-mails, on blogs, and/or in videos.
24
            20.       The Google AdSense Content program enables online publishers of websites to
25
     partner with Google to earn revenue from AdWords advertisements displayed on websites under
26
     their ownership, license, registration and/or other control. Google tracks each time Internet users
27
     click on advertisements displayed on AdSense publishers’ websites and charges advertisers for
28
                                                                                                COMPLAINT
                                                      -5-                                   CASE NO. 17-7082
        Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 6 of 50



 1
     each click. Google pays the AdSense publishers a portion of the amount paid by advertisers for
 2
     the clicks, while retaining the remaining portion for itself.
 3
            21.     Like AdSense, DoubleClick Ad Exchange also allows website publishers to
 4
     display advertisements in exchange for a share of the advertising revenue paid to Google by the
 5
     advertiser for each “impression” (i.e., each time a unique user views the publisher’s website
 6
     displaying an advertisement served to that website through AdX).
 7
            22.     AdX differs from AdSense in that it is a programmatic, real-time bidding exchange
 8
     that allows publishers and advertisers to exercise far more granular control over what
 9
     advertisements are displayed and how much is paid by the advertiser to display those
10
     advertisements. It also allows advertisers from outside of the Google Display Network to buy
11
     inventory from the publisher, thus significantly increasing the demand.
12
            23.     Advertisers can buy ad space on AdX through DoubleClick Ad Exchange Buyer
13
     (“AdX Buyer”), as well as DBM (which is Google’s demand-side platform). AdX is an ad
14
     exchange, which means that it consolidates advertising demand from AdWords and other ad
15
     networks, exchanges, and demand-side platforms (such as DBM) to participating AdX publishers.
16
     Thus, for example, DBM and AdWords advertisers can end up buying ad space on the website of
17
     an AdX publisher.
18
            24.     In layman’s terms, advertisers have advertisements that they wish to display on
19
     websites and publishers have “inventory” (i.e., ad spaces on their websites) that can accommodate
20
     the display of those advertisements. AdX facilitates these two groups transacting together for
21
     their mutual benefit.
22
            25.     Put differently, AdX is viewed by industry participants as a more sophisticated ad
23
     placement service compared to AdSense, and attracts more experienced and/or larger publishers.
24
            26.     Google offers a suite of DoubleClick products to assist publishers and advertisers
25
     in utilizing AdX. Some of these products include DoubleClick for Publishers and DoubleClick
26
     Bid Manager, among others. DoubleClick for Publishers is primarily used as an ad server to help
27
     publishers monetize their inventory. DoubleClick Bid Manager is the largest demand-side-
28
                                                                                            COMPLAINT
                                                      -6-                               CASE NO. 17-7082
        Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 7 of 50



 1
     platform in the world and is used to run ad campaigns for advertisers. A demand-side-platform
 2
     provides media buyers (such as advertisers, agencies, trading desks, etc.) with centralized access
 3
     to multiple ad exchanges and networks where they can bid for their desired inventory. DBM
 4
     consolidates inventory from AdX, AdSense, and other ad exchanges. In other words, an
 5
     advertiser can use DBM to buy inventory on both AdX and also on non-Google controlled ad
 6
     exchanges. Most transactions end up consummated on a Google platform because Google
 7
     controls a large share of the online advertising market.
 8
            27.        Another feature of AdX is that Google allows businesses to participate on the
 9
     publishing side even if they do not have their own website, but as managers of websites belonging
10
     to others. Google calls such entities Network Partner Managers (“NPM”). Essentially, NPMs
11
     help Google manage smaller publishers and penetrate in new markets. NPMs also help Google
12
     gain additional share with its existing clients. AdTrader was an NPM.
13
            28.        Due to the sophisticated features offered by AdX, website content creators often
14
     engage NPM partners to focus on optimizing the revenue earned from Google advertisements
15
     placed on their websites (usually by selling ad space at the highest possible price), while those
16
     website content creators focus instead on content creation.
17
            29.        These websites will accordingly be registered in the AdX program under the AdX
18
     account belonging to the NPMs, but may also be simultaneously registered in the AdX program
19
     under their own AdX account (or may also be registered in the AdSense program under their own
20
     account there).
21
            30.        Similarly, Google allows businesses to participate in AdX on the advertising side
22
     even if they do not have any advertisements of their own to place, but as managers of advertisers
23
     seeking to place advertisements through DBM. This is because much like AdX is a more
24
     sophisticated product than AdSense, DBM is a more sophisticated product than AdWords. DBM
25
     provides more granular control and access to more inventory compared to AdWords. It is also
26
     more difficult to manage and also requires a high minimum monthly ad spend to access the
27
28
                                                                                              COMPLAINT
                                                       -7-                                CASE NO. 17-7082
        Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 8 of 50



 1
     platform. Thus, smaller and mid-size advertisers typically work with business entities familiar
 2
     with DBM rather than navigate the platform on their own.
 3
            31.     Google calls such entities advertising agencies, or advertising networks. AdTrader
 4
     was also classified by Google as an advertising agency, and then subsequently re-classified as an
 5
     advertising network. Thus, AdTrader would buy ad space on publisher websites on behalf of its
 6
     advertising clients, and Google would charge AdTrader for ad impressions on those websites.
 7
     AdTrader would advance those costs on behalf of its advertising clients and then get reimbursed
 8
     for them by those clients.
 9
            32.     Most of AdTrader’s advertising clients, however, would also have their own
10
     Google advertising accounts (such as AdWords). That way, they could and would directly
11
     arrange for their advertisements to be displayed on the website of an AdX publisher.
12
            33.     The Google Services Agreement, which AdTrader entered into, governs the
13
     relationship between AdX publishers and Google. A true and correct copy of this contract is
14
     attached hereto as Exhibit 1. The primary obligations of a publisher are set forth in Section 2.3 of
15
     the agreement, which requires that an AdX publisher adhere to Google’s published AdX
16
     Guidelines and Google’s technical protocols.
17
            34.     The Google Services agreement also provides the following policies and
18
     procedures for Google’s payments to AdX web publishers:
19
            Section 8.2: Google Payments
20
            (a) For the Services, Google will pay Company an amount equal to the Revenue Share
21          Percentage (listed on the front page of this Agreement) of Ad Revenues attributable to a
            calendar month. This payment will be made in the month following the calendar month in
22          which the applicable Ads were displayed provided that the amount owed to Company in a
            given month is above the minimum set forth in the AdX Guidelines.
23
            (b) Google’s payments for the Services under this Agreement will be based on Google’s
24          accounting which may be filtered to exclude (i) invalid queries, impressions, conversions,
            or clicks, and (ii) any amounts refunded to advertisers in connection with Company’s
25          failure to comply with this Agreement, as reasonably determined by Google.
26          35.     Moreover, the Google Services Agreement lays out specific grounds for Google to

27   terminate an AdX publisher’s account. The entirety of these grounds are as follows:

28
                                                                                             COMPLAINT
                                                     -8-                                 CASE NO. 17-7082
        Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 9 of 50



 1          Section 13.2: Termination
 2          (a) Either party may terminate this Agreement with notice if the other party is in material
            breach of this Agreement:
 3
                    (i) where the breach is incapable of remedy;
 4
                    (ii) where the breach is capable of remedy and the party in breach fails to remedy
 5          that breach within 30 days after receiving notice from the other party; or
 6                  (iii) more than twice even if the previous breaches were remedied.
 7          (b) Either party may terminate this Agreement for any or no reason upon 30 days prior
            notice to the other party.
 8
            (c) Google reserves the right to suspend or terminate Company’s use of any Services that
 9          are alleged or reasonably believed by Google to infringe or violate a third party right. If
            any suspension of a Service under this subsection 13.2(c) continues for more than 6
10          months, Company may immediately terminate this Agreement upon notice to Google.
11          (d) Google may terminate this Agreement immediately with notice if pornographic
            content that is illegal under U.S. law is displayed on any Site.
12
13          36.     The Google Ad Exchange Master Service Agreement, which AdTrader entered

14   into, is the primary contract that governs the relationship between advertisers using AdX Buyer

15   and Google, as executing this agreement is a prerequisite to buy on AdX through DBM. A true

16   and correct copy of this contract is attached hereto as Exhibit 2.

17          37.     AdTrader, like some other advertisers using AdX Buyer, also entered into the

18   DoubleClick Advertising Platform Agreement in order to utilize certain specific DoubleClick

19   products. A true and correct copy of this contract is attached hereto as Exhibit 3.

20          38.     Finally, the Google Inc. Advertising Program Terms, which AdTrader entered

21   into, is the contract that governs the relationship between Google and advertisers using AdWords.

22   A true and correct copy of this contract is attached hereto as Exhibit 4.

23                                        Background on AdTrader

24          39.     Plaintiff AdTrader is a company that manages on-line advertising for both

25   advertisers and web publishers. It delivers advanced programmatic and real-time bidding

26   solutions that help advertisers and publishers execute media deals more effectively.

27          40.     Programmatic ad buying typically refers to the use of software to purchase digital

28   advertising, as opposed to the traditional process that involves requests for proposals, human
                                                                                               COMPLAINT
                                                      -9-                                  CASE NO. 17-7082
       Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 10 of 50



 1
     negotiations, and manual insertion orders. AdTrader is one of few companies offering solutions
 2
     that address both sides of the market - the buy (advertisers) and sell (publishers).
 3
            41.     In return for a fee, AdTrader helps advertisers plan, execute, analyze, and optimize
 4
     their ad campaigns to meet targets. AdTrader places advertising bids on the Double Click Ad
 5
     Exchange through DBM on behalf of these firms, handles implementation of their
 6
     advertisements, and monitors advertising campaigns to ensure they are reaching their intended
 7
     targets at the intended prices.
 8
            42.     Similarly, AdTrader uses its technology to help web publishers maximize the
 9
     revenues they can earn from displaying advertisements on their websites by helping them expose
10
     their inventory to optimal demand. AdX is AdTrader’s biggest demand partner.
11
     Through AdX, AdTrader offered publishers access to the world’s largest demand pool.
12
            43.     AdTrader also ensures that web publishers are complying with the requirements of
13
     the online advertising exchanges they participate in (including AdX), ranging from actions such
14
     as making sure that advertisements are placed in the proper positions on the websites to vetting
15
     out objectionable content from those websites.
16
            44.     AdTrader has worked extensively with Google for the last three years as an NPM
17
     and in its capacity as an advertising agency / advertising network. In these roles, AdTrader has
18
     heavily utilized the various DoubleClick products and its employees are extremely
19
     knowledgeable about how to use them properly in accordance with Google’s guidelines.
20
     AdTrader performed its obligations under the Google Services Agreement, and ensured that its
21
     publisher clients performed their obligations under the Google Services Agreement. AdTrader
22
     and its publisher clients properly displayed Google’s advertisements in conformity with Google’s
23
     policies, did not display any impermissible content on their websites, and otherwise performed all
24
     of their required contractual duties.
25
            45.     Similarly, AdTrader and its advertising partners always performed their
26
     obligations under the Google Ad Exchange Master Service Agreement, the DoubleClick
27
     Advertising Platform Agreement, and the Google Inc. Advertising Program Terms. The primary
28
                                                                                                COMPLAINT
                                                      - 10 -                                CASE NO. 17-7082
       Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 11 of 50



 1
     contractual responsibilities of advertisers under these agreements were to (i) pay Google (ii) not
 2
     offer advertisements that violated Google’s content guidelines, and (iii) not embed malware in
 3
     those advertisements. AdTrader and its advertising partners had no problems carrying out these
 4
     contractual duties.
 5
            46.     AdTrader was also one of the larger NPM publisher accounts participating in AdX.
 6
     As such, over the course of this multi-year relationship, Google account managers would
 7
     regularly keep track of AdTrader’s month-over-month growth, challenges, goals, and future plans
 8
     through quarterly reports.
 9
            47.     Google account managers would also communicate with AdTrader employees (in
10
     phone calls, e-mails, on-line chats, and live meetings) about how to properly utilize the various
11
     DoubleClick products. In these discussions, Google would reassure AdTrader that AdTrader and
12
     its publishers were complying with all of Google’s policies, and would continue to be in
13
     compliance if they followed the implementation and optimization measures suggested by those
14
     employees. (Meaning that Google employees would recommend to AdTrader to implement new
15
     layouts, such as ad units or ad formats, or advertisement placement strategies for their publisher
16
     websites that would be more effective at generating revenue from those advertisements.)
17
            48.     For example, for much of 2016 and 2017, AdTrader’s assigned account manager
18
     was a Google employee named Balint Torok. Mr. Torok spoke to AdTrader employees on a
19
     regular basis, and reassured them that AdTrader’s publishers’ websites had high quality traffic.
20
     In fact, Mr. Torok would sometimes tell AdTrader employees the percentage of invalid
21
     impressions that AdTrader’s publishers had for each billing period, and based on those
22
     representations, it appeared that only 0.15% - 0.2% of AdTrader’s estimated revenue for the
23
     average billing period was the product of invalid activity (and accordingly deducted). Mr. Torok
24
     said that this was an exceptionally low number compared to the vast majority of other AdX
25
     publishers, as the average amount of invalid activity on an AdX publisher website was usually
26
     several percentage points.
27
28
                                                                                             COMPLAINT
                                                    - 11 -                               CASE NO. 17-7082
       Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 12 of 50



 1
            49.     Also, in February 2017, AdTrader employees were invited by Google to attend the
 2
     Mobile World Congress in Barcelona. During this event, AdTrader employees spoke to Google
 3
     employees Anthony Nakache (the Director of Online Partnerships) and Rachad Saddi (a Channel
 4
     Partner Manager). Both said that they were very impressed with AdTrader and its growth, and
 5
     hoped that AdTrader’s AdX revenues would grow ten times larger. At no point during this
 6
     meeting did anyone from Google raise any concerns that AdTrader or its publisher clients had
 7
     failed to comply with Google’s AdX policies in any way, or that any of their user traffic was
 8
     invalid in any way.
 9
            50.     AdTrader and its employees had another meeting with Google’s AdX publisher
10
     team in April 2017, this time in Dublin, Ireland. The two sides discussed in detail the publishers
11
     in AdTrader’s account and the future plans it had for growing its AdX account. At no point
12
     during this meeting did anyone from Google raise any concerns that AdTrader or its publisher
13
     clients had failed to comply with Google’s AdX policies in any way, or that any of their user
14
     traffic was invalid in any way.
15
            51.     By early 2017, AdTrader managed on-line advertising for hundreds of advertisers
16
     and web publishers. The majority of publisher inventory was monetized through AdX, and the
17
     majority of the advertising campaigns were run through DBM and, because of Google’s
18
     preference for directing advertisers to AdX, most of those ads were placed on AdX. Most of
19
     AdTrader’s publishing and/or advertising clients also had their own individual AdX, AdSense,
20
     and/or AdWords accounts as well.
21
                               Google Tries to Destroy AdTrader’s Business
22
            52.     In early 2017, AdTrader began a contractual relationship with DingIt.tv (“DingIt”)
23
     in its capacity as an NPM. DingIt, and its parent company Level Up Media, is one of the leading
24
     video hosting services for e-sports. AdTrader and DingIt had a contractual relationship.
25
     AdTrader helped DingIt optimize the monetization of its content, including the bidding and
26
     placement of advertisements on DingIt web properties through AdX.
27
28
                                                                                            COMPLAINT
                                                    - 12 -                              CASE NO. 17-7082
       Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 13 of 50



 1
            53.      DingIt was pleased with the quality of AdTrader’s work. On April 26, 2017,
 2
     DingIt executives had a call with AdTrader’s executives, and DingIt offered an exclusive
 3
     partnership to AdTrader worth millions of dollars in added annual revenue. AdTrader accepted.
 4
            54.      AdTrader’s employees repeatedly made Google aware of the existence of the
 5
     AdTrader-DingIt relationship. In particular, in March and April 2017, AdTrader employees
 6
     informed Google employees Pavel Pimshin (the then-current account manager assigned to
 7
     AdTrader) and Mr. Torok that AdTrader was working with DingIt. And on May 12, 2017, Mr.
 8
     Pimshin e-mailed AdTrader to ask it to have DingIt directly contact Google and, even more
 9
     unusually, to see AdTrader’s contract with DingIt.
10
            55.      On May 15, 2017, AdTrader introduced Mr. Pimshin and other Google employees
11
     to Adam Simmons, an executive of Level Up Media, as requested by Google. Mr. Simmons then
12
     directly communicated with those Google employees by e-mail.
13
            56.      AdTrader also gave Mr. Pimshim a copy of its contract with DingIt. As a result,
14
     Google became fully knowledgeable about the terms of AdTrader’s supply-side agreements,
15
     including when and how AdTrader remitted funds received from Google to its publisher clients.
16
            57.      On May 19, 2017, a few days before Google was due to pay AdTrader its accrued
17
     AdX earnings (and only four days after DingIt contacted Google directly), without any warning,
18
     AdTrader received a form e-mail from Google stating, in part:
19
            Hello,
20
            This e-mail is to alert you that your DoubleClick Ad Exchange account was found to be
21          non-compliant with our Ad Exchange program policies and as a result, your Ad
            Exchange account has been disabled.
22
            Current account status: Disabled
23
            Action required: None
24
            Violation explanation
25
            As stated in our program policies, sites displaying Google ads should provide substantial
26          and useful information to the user. Users should be able to easily navigate through the site
            to find what products, goods, or services are promised. Examples of misguided
27          navigation include, but are not limited to:
28          False claims of downloadable or streaming content
                                                                                           COMPLAINT
                                                   - 13 -                              CASE NO. 17-7082
       Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 14 of 50



 1
             Linking to content that does not exist
 2
             Redirecting users to irrelevant and/or misleading webpages
 3
             Text on a page unrelated to the topic and/or business model of the website.
 4
             Payment
 5
             As your account has been permanently disabled, we will withhold payment of your
 6           account balance. As stated in the terms governing your Ad Exchange account, Google
             reserves the right to withhold from its payments to publishers any amounts refunded to
 7           advertisers in connection with the publisher’s failure to comply with their Ad Exchange
             agreement, as reasonably determined by Google. Please note that this step was taken in an
 8           effort to maintain the quality of the Ad Exchange program and to protect the interests of
             our advertisers. The earnings on your account will be returned to the affected advertisers.
 9
             No further accounts
10
             Please note that publishers disabled for invalid activity on Ad Exchange are not allowed
11           any further participation in Ad Exchange, AdSense or our other ad monetization products.
12           58.    AdTrader’s employees were utterly baffled by this e-mail. None of websites

13   monetized by AdTrader performed the kind of prohibited activities listed by Google, and Google

14   employees had repeatedly confirmed that AdTrader’s websites were in compliance with Google’s

15   policies.

16           59.    AdTrader’s employees reached out to Google’s employees for clarification, but did

17   not receive any insight. After ignoring or brushing off AdTrader for six days, finally Google

18   employees would say only that AdTrader’s account was disabled because it was found to be in

19   violation of some unspecified AdX guidelines.

20           60.    AdTrader submitted an internal appeal to Google. Google’s appeal form is

21   nothing more than a pro forma document, and only asks very general, standardized questions

22   without permitting the user to elaborate on the reasons why Google’s reasons for terminating the

23   user’s AdX account and withholding the accrued earnings were erroneous. In particular, because

24   Google’s notice of violation did not actually inform AdTrader of what it did wrong, AdTrader

25   had no way of knowing what facts to provide to Google to get it to reconsider its decision.

26           61.    Google summarily rejected AdTrader’s internal appeal by means of an auto-

27   generated e-mail that was sent a short time later. On information and belief, nobody at Google

28
                                                                                               COMPLAINT
                                                      - 14 -                               CASE NO. 17-7082
       Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 15 of 50



 1
     closely reviewed AdTrader’s appeal, as the appeal form was designed to convey minimal
 2
     information to Google and give publishers the illusion that Google might reconsider its decision.
 3
            62.     AdTrader’s employees again asked Google representatives to provide further
 4
     information as to what policy AdTrader had supposedly violated, and explained that AdTrader
 5
     could not effectively appeal Google’s decision if it did not know what it did that was wrong.
 6
     Google’s employees were unmoved and did not provide any additional information.
 7
            63.     In any event, Google prevented AdTrader from receiving the benefit of a
 8
     meaningful appeal of its decision to terminate its AdX account and withhold its accrued AdX
 9
     earnings, as Google refused to tell AdTrader the reason Google had terminated its account.
10
            64.     AdTrader employees were 100% certain that none of its publisher websites had
11
     violated any Google policies. But nevertheless, they pointed out to Google employees that, even
12
     if, hypothetically, one or two publisher websites were not in compliance with Google’s rules,
13
     AdTrader’s remaining websites (as it had over two hundred active publishers for that earnings
14
     period) would still be in compliance and it would not be fair to withhold the earnings generated
15
     from those compliant websites. Google’s employees remained unmoved.
16
            65.     AdTrader’s employees were also baffled by Google’s decision to withhold
17
     payment of AdTrader’s accrued AdX earnings, which totaled $476,622.69 as of May 19, 2017,
18
     for other reasons. Per the express terms of the Google Service Agreement, Google could
19
     withhold AdTrader’s accrued AdX earnings only if two grounds were met. Under the first
20
     ground, it could withhold a publisher’s AdX earnings for “invalid queries, impressions,
21
     conversions, or clicks[.]” But Google’s May 19, 2017 notice of violation did not even accuse
22
     AdTrader of having invalid queries, impressions, conversions, or clicks.
23
            66.     Furthermore, AdTrader never received any prior notice from Google of a breach of
24
     the Google Services Agreement. Indeed, the only contractual grounds for Google to immediately
25
     terminate that contract is if a web publisher displays pornographic content on its website, and
26
     AdTrader has never had any of its website publishers display any pornographic content.
27
28
                                                                                            COMPLAINT
                                                    - 15 -                              CASE NO. 17-7082
       Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 16 of 50



 1
            67.     Most telling, however, is the fact that to this day, to the best of AdTrader’s
 2
     knowledge, none of its publisher clients have had their individual AdX or AdSense accounts
 3
     suspended by Google, and continue to monetize their content through AdSense or AdX. This was
 4
     the case despite the fact that Google’s termination e-mail clearly stated that “publishers disabled
 5
     for invalid activity on Ad Exchange are not allowed any further participation in Ad Exchange,
 6
     AdSense or our other ads monetization products.” Therefore, if AdTrader had, in fact, violated an
 7
     AdX policy, then at least some of its publisher clients necessarily would also have had their
 8
     individual accounts disabled, because AdTrader (as a NPM) only worked on the websites of its
 9
     publisher clients. The fact that none of AdTrader’s publisher clients suffered a similar fate is
10
     proof that AdTrader did not, in fact, violate any Google policies.
11
            68.     Google’s employees certainly had a motive to gin up a pretextual reason to
12
     terminate AdTrader’s AdX account. Google typically has a direct relationship with major
13
     website publishers such as DingIt and helps those publishers monetize their properties on AdX
14
     (i.e., the same types of services that managers like AdTrader provide). Google thus had financial
15
     incentives to cause DingIt to directly turn to Google for AdX services (or to a preferred AdX
16
     partner that is typically owned by ex-Google employees).
17
            69.     Indeed, Mr. Torok had previously (and privately) warned AdTrader employees
18
     that in his observation, NPMs would mysteriously start getting into trouble with Google once
19
     they reached an annual revenue run rate of $4-5 million. AdTrader employees noted to
20
     themselves that at that revenue level, the NPM’s publisher clients were likely generating enough
21
     revenue that Google would want to directly work with those publishers.
22
            70.     On information and belief, a few days after Google terminated AdTrader’s account
23
     on May 19, 2017, Google directly contacted DingIt to begin a direct relationship. If true, then
24
     AdTrader’s termination was not a coincidence.
25
            71.     Undoubtedly, Google will rely on a contractual Limitations of Liability provision
26
     in an attempt to minimize its liability to AdTrader for such wrongful conduct. This provision,
27
28
                                                                                              COMPLAINT
                                                     - 16 -                               CASE NO. 17-7082
       Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 17 of 50



 1
     however, is substantively and procedurally unconscionable, and AdTrader seeks a declaration on
 2
     behalf of itself and other AdX publishers that this provision is unenforceable.
 3
            72.     Incidentally, rather than force its publisher clients to absorb losses because Google
 4
     refused to pay its accrued AdX earnings, AdTrader paid out of its own cash reserves what it
 5
     could, to what those publishers were owed. Until the filing of this lawsuit, those publisher clients
 6
     never knew the truth, even though it would have been easier for AdTrader to simply point out to
 7
     its clients what Google did and not pay out any monies. AdTrader thus spent the majority of its
 8
     own remaining funds to essentially protect Google’s reputation.
 9
                               Google Lies About Refunding Its Advertisers
10
            73.     The second ground under the Google Services Agreement for Google to withhold
11
     a publisher’s accrued AdX earnings is if it refunds “any amounts… to advertisers in connection
12
     with [a publisher’s] failure to comply with this Agreement, as reasonably determined by Google.”
13
            74.     It appeared to AdTrader that Google was primarily relying upon the second ground
14
     to withhold payment from AdTrader, even though the Google Services Agreement allows Google
15
     to withhold accrued AdX earnings only if both grounds are satisfied. On a May 24, 2017
16
     recorded telephone call, Mr. Nakache represented to AdTrader’s employees that:
17
18          AdTrader: All of the money is going to be refunded to advertisers?
19          Nakache: Yes.
20          AdTrader: Does that mean that every single impression and every single click for all of
            our publishers has been…
21
            Nakache: Exactly. Everything in the account, the account is in violation of our policy,
22          advertisers have been impacted, and as a result we have made the decision to refund all
            the advertisers and all the revshare from Google.
23
            ***
24
            AdTrader: So, every single advertisers [sic] who has bought a single impression for the
25          past two months from any of our publishers will get their money back? Is that correct?
26          Nakache: Yes.
27          ***
28
                                                                                             COMPLAINT
                                                    - 17 -                               CASE NO. 17-7082
         Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 18 of 50



 1            AdTrader: I see. OK, so we are not going to receive anything unless the appeal is
              successful we will not be paid anything.
 2
              Nakache: No, the money is going to be paid back to the advertisers.
 3
              AdTrader: So, whether the appeal is successful or not, we will still not receive the
 4            payment, is that correct?
 5            Nakache: Yes.1
 6            75.    Mr. Nakache lied. Google did not, in fact, refund its advertisers that had

 7   advertised on AdTrader’s publisher’s websites.

 8            76.    As an advertising agency / advertising network, AdTrader also handled the

 9   accounts of numerous advertisers that bought inventory on AdX and AdSense using AdWords

10   and DBM. During the last pay period prior to AdTrader’s account termination, AdTrader had a

11   number of its advertising clients run advertisements on the websites of AdTrader’s publishers.

12   AdTrader also knew that a number of its advertising clients ran advertisements on those same

13   websites through their own individual DBM and AdWords accounts.

14            77.    AdTrader never got any refunds or credits from Google for running these

15   advertisements, despite Mr. Nakache’s emphatic statements to the contrary. Nor did AdTrader’s

16   advertising clients on their individual accounts.

17            78.    Alerted to this inconsistency, AdTrader reviewed its records to see whether it had

18   ever received a refund or credit from Google for running advertisements on websites that had

19   invalid activity. It had not, nor had any of AdTrader’s advertising clients when AdTrader was

20   handling their accounts. Google gave no refunds or credits even though, every single month,

21   Google withheld a small amount of accrued earnings from AdTrader on its publishing activities

22   for what it deemed to be invalid activity and claimed to have refunded the withheld amounts to its

23   advertisers. During these same months, however, AdTrader and its advertising clients had bought

24   traffic from some of those same websites through DBM, so if Google’s explanation was true, then

25   AdTrader and its advertising clients should have received some refunds or credits almost every

26   month.

27
     1
      Mr. Nakache is located in Ireland and AdTrader’s employee was also located out of the United
28   States at the time. Therefore, California’s two-party consent law does not apply.
                                                                                              COMPLAINT
                                                      - 18 -                              CASE NO. 17-7082
       Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 19 of 50



 1
            79.     AdTrader also inquired with a large New York agency, and several European
 2
     agencies, whose identities are not being disclosed to avoid retaliation from Google, whether they
 3
     or their clients had ever received a refund or credit for advertising funds spent on websites with
 4
     invalid activity. None of them had, even though multiple AdX and AdSense publishers have
 5
     publicly stated or privately confirmed that Google always determines that a certain percentage of
 6
     their clicks or impressions for any particular advertisement every month is invalid for one reason
 7
     or another.
 8
            80.     These revelations are especially problematic for Google, because it is contractually
 9
     obligated to refund its advertisers for advertising funds spent by them on invalid impressions or
10
     clicks. Google represented to AdTrader, as it does to all advertisers, that it performs “offline
11
     analysis” of its advertising networks to ascertain whether any impressions or clicks on an
12
     advertisement are invalid. More importantly, Google represented that “When invalid activity is
13
     found through offline analysis and reactive investigation, we mark those clicks as invalid and
14
     issue credits to any advertisers affected by this activity.”
15
            81.     Google’s representation is found on its Google Ads Traffic Quality Resource
16
     Center webpage, and a true and correct copy of this webpage is attached as Exhibit 5. Despite the
17
     iterations of that webpage over the years, Google keeps making essentially the same
18
     representation over and over. Google representatives also expressly refer advertisers and
19
     potential advertisers (during in-person conversations, telephone calls, e-mails, message board
20
     responses, and Internet chats) to review the Google Ads Traffic Quality Resource Center
21
     webpage whenever they have specific questions about invalid activity and advertising fraud.
22
     Indeed, Google prominently states on its own webpage
23
     (https://adwords.googleblog.com/2007/08/introducing-ad-traffic-quality-resource.html) that the
24
     Ad Traffic Quality Resource Center “serve[s] as the single source for all click fraud and ad traffic
25
     quality related information.”
26
            82.     Google repeats its representation on multiple webpages that it tells its advertisers
27
     to review. For example, in an AdWords Help article, Google states that, with respect to “invalid
28
                                                                                              COMPLAINT
                                                      - 19 -                              CASE NO. 17-7082
       Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 20 of 50



 1
     activity,” that it “prohibit[s] this kind of bad behavior. And that’s why you don’t have to pay for
 2
     these unfair clicks and impressions.” A true and correct copy of this webpage is attached as
 3
     Exhibit 6.
 4
            83.     As another example, Google stated on another Ad Traffic Quality webpage that:
 5
     “When we find something wrong, we try to make it right as soon as possible. We suspend or
 6
     disable invalid accounts, and may withhold payments to the publisher. When appropriate and
 7
     possible, that money is credited back to the advertisers – not only for the month where we found
 8
     the invalid activity, but often for the previous month, as well.” A true and correct copy of this
 9
     webpage is attached as Exhibit 7.
10
            84.     In still yet another example, Google stated on its Inside AdWords blog that “our
11
     team proactively identifies invalid activity that may not have been automatically filtered and
12
     credits advertisers accordingly…. In the interest of transparency, all credits, past and future, for
13
     future invalid click activity are now labeled ‘Adjustment – Click Quality.’” A true and correct
14
     copy of this webpage is attached as Exhibit 8.
15
            85.     Google’s representations were made to AdTrader and all other advertising
16
     agencies, advertising networks, and advertisers when they first entered into the DoubleClick
17
     Advertising Platform Agreement, the DoubleClick Ad Exchange Master Service Agreement,
18
     and/or the Google Inc. Advertising Program Terms. Google then continually affirms this
19
     representation by repeatedly re-directing existing clients to its previously referenced webpages.
20
            86.     As it turned out, Google’s representations were false. During an Internet chat with
21
     AdTrader employees held on June 2, 2017, Google employee Paschal Pradeep confirmed that in
22
     DoubleClick Bid Manager (again, the largest demand-side-platform in the world and which is
23
     used to run ad campaigns for advertisers) there was actually no way for Google or anyone else to
24
     check on invalid impressions and clicks (i.e., there is no “offline analysis” mentioned in Google’s
25
     representation).
26
            87.     Mr. Pradeep explained that this was because DoubleClick Bid Manager only does
27
     real-time filtering of invalid impressions and clicks. In other words, when an advertiser is
28
                                                                                               COMPLAINT
                                                      - 20 -                               CASE NO. 17-7082
       Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 21 of 50



 1
     checking its DoubleClick Bid Manager account, the results it sees already reflect that Google has
 2
     excluded invalid impressions and clicks from the final metrics.
 3
            88.     Plaintiff AdTrader, of course, never saw any indication in DoubleClick Bid
 4
     Manager (or any other Google product) that any of its advertisements were being displayed on
 5
     websites with invalid impressions and clicks. Incredulous that in the context of AdTrader’s
 6
     account termination, Google would essentially fabricate a claim that it had somehow
 7
     subsequently detected invalid activity coming from AdTrader’s publisher websites (since the real-
 8
     time, filtered data showed no such invalid activity), AdTrader’s employees repeated their
 9
     questions to Mr. Pradeep to see if there was any misunderstanding. There was not. Mr. Pradeep
10
     explained that there was no end-of-the-month adjustment for invalid activity, or that such an
11
     adjustment took longer than a month to finalize. Instead, he stated, “[i]t is automatic and it will
12
     happen instantly.”
13
            89.     And, of course, Google’s representation is false for the added reason that it does
14
     not, in fact, issue credits to advertisers affected by invalid activity. AdTrader and its advertisers
15
     are the obvious case in point.
16
            90.     Additional confirmation came by way of an August 25, 2017 article published in
17
     the Wall Street Journal. The article explained that Google had detected a surge of ad fraud during
18
     the second quarter of 2017 on DoubleClick Bid Manager. But rather than offer full refunds or
19
     credits to those advertisers, as it had continually represented in its Ad Traffic Quality Resource
20
     Center webpage, Google was offering only a modest reimbursement – about 7-10% of the total
21
     amounts spent by those advertisers (with some advertisers apparently getting much less). Not
22
     surprisingly, many advertisers were unhappy with this development.
23
            91.     Also in this article, Google said that the refunds it was offering were appropriate
24
     “because it doesn’t control the rest of the money spent.” This statement is untrue, as the vast
25
     majority of advertisements served through DoubleClick Bid Manager go to AdX publisher
26
     websites, and Google routinely deducts or withholds payments to those publishers (like it did for
27
28
                                                                                               COMPLAINT
                                                     - 21 -                                CASE NO. 17-7082
       Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 22 of 50



 1
     AdTrader) on the grounds that some or all of the clicks or impressions generated on that website
 2
     were somehow invalid.
 3
             92.     Apparently, some executive at Google read this August 25, 2017 article and
 4
     realized that it publicly exposed that Google was not giving full refunds or credits as contractually
 5
     obligated. On or around September 1, 2017, Google suddenly changed the terms of the contract
 6
     governing its relationship with AdWords advertisers – the Google Inc. Advertising Program
 7
     Terms. The primary change it effected to this agreement was that AdWords advertisers were now
 8
     required to arbitrate their disputes with Google and were precluded from bringing any class
 9
     actions against Google. It is plainly obvious that Google made such changes directly in response
10
     to the August 25, 2017 Wall Street Journal article to prevent advertisers (especially smaller
11
     advertisers) from suing Google and obtaining redress.
12
             93.     This sudden change to the contract terms was particularly egregious because it
13
     purported to require advertisers to arbitrate any claim they had against Google arising prior to the
14
     date of the contract modification. But in all prior iterations of the Google Inc. Advertising
15
     Program Terms, Google specifically represented to everyone that any “changes to the Terms will
16
     not apply retroactively[.]” AdTrader, and all other advertisers using AdWords, relied on this
17
     express contractual representation by Google in deciding to sign up for, and continue using
18
     AdWords, because Google had promised it would not try to retroactively change contract terms.
19
             94.     AdTrader did not agree to the modified AdWords contract, and is not bound by its
20
     terms. Many other advertisers are also similarly not bound, as they either declined to accept the
21
     modified contract or specifically opted out of the new arbitration requirement. But nevertheless,
22
     AdTrader seeks a declaration, on behalf of itself and all AdWords advertisers, that this new
23
     arbitration clause is substantively and procedurally unconscionable, and therefore cannot be
24
     enforced to the extent that it purports to require advertisers to arbitrate any disputes with Google
25
     arising prior to the effective date of this arbitration clause.
26
                                            Class Action Allegations
27
             95.     AdTrader brings this action on behalf of itself and an Advertiser Class, defined as:
28
                                                                                              COMPLAINT
                                                       - 22 -                             CASE NO. 17-7082
       Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 23 of 50



 1                  All businesses and Google-recognized advertising agencies and advertising
                    networks that, at any time during the applicable limitations period, paid Google to
 2                  display their advertisements on the website of a third-party publisher participating
                    in the DoubleClick Ad Exchange or on AdSense, and did not receive refunds or
 3                  credits for advertising expenditures spent by them on that publisher website after
                    Google withheld any amount of payment to that publisher for what Google
 4                  claimed to be invalid activity or non-compliance with a Google policy.
 5          96.     AdTrader additionally brings this action on behalf of itself and an AdWords

 6   Advertisers Sub-Class, defined as:

 7                  All businesses and Google-recognized advertising agencies and advertising
                    networks that had an active AdWords account as of September 1, 2017.
 8
            97.     Through the process of seeking and obtaining class certification, AdTrader
 9
     reserves the right to amend the definitions of the proposed classes, as appropriate.
10
            98.     Excluded from the Classes and the Sub-Class are the officers, directors, and
11
     employees of Google, any judicial officer presiding over this action, and the members of his or
12
     her immediate family and judicial staff.
13
            99.     This action is brought and may properly be maintained as a class action pursuant
14
     to Federal Rules of Civil Procedure 23(b)(2) and 23(b)(3).
15
            100.    The Classes and the Sub-Class are so numerous that joinder of all members is
16
     impracticable. There are tens of thousands, if not hundreds of thousands, of businesses that have
17
     done online advertising on an AdX publisher website. The precise number and identity of the
18
     members of the Classes and the Sub-Class can be obtained from the records of Google.
19
            101.    There are numerous questions of law and fact common to the members of the
20
     Classes and Sub-Class which predominate over any questions affecting only individual members
21
     including: (i) whether Google defrauded its DBM and AdWords advertising clients by falsely
22
     representing to them that Google refunded or credited advertisers when it discovers that their
23
     advertising funds had been spent on fraudulent or invalid clicks, (ii) whether Google had
24
     negligently misrepresented to its DBM and AdWords advertising clients that Google refunded or
25
     credited advertisers when it discovers that their advertising funds had been spent on fraudulent or
26
     invalid clicks, (iii) whether Google is in violation of California Penal Code § 496(c) for
27
     defrauding its DBM and AdWords advertising clients by falsely representing to them that Google
28
                                                                                                COMPLAINT
                                                    - 23 -                                  CASE NO. 17-7082
       Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 24 of 50



 1
     refunded or credited advertisers when it discovers that their advertising funds had been spent on
 2
     fraudulent or invalid clicks, (iv) whether Google had breached its contracts with its DBM and
 3
     AdWords advertising clients by failing to provide them refunds or credits for their advertising
 4
     funds had been spent on fraudulent or invalid clicks, (v) whether Google had unjustly enriched
 5
     itself at the expense of its DBM and AdWords advertising clients by failing to provide them
 6
     refunds or credits for their advertising funds had been spent on fraudulent or invalid clicks, (vi)
 7
     whether Google had violated California’s unfair competition law by misrepresenting to its
 8
     DoubleClick and AdWords advertising clients that Google refunded or credited advertisers when
 9
     it discovers that their advertising funds had been spent on fraudulent or invalid clicks and/or by
10
     withholding accrued earnings to publishers participating in the DoubleClick Ad Exchange on the
11
     grounds that Google had determined such funds were associated with invalid activity and
12
     refunded back to advertisers when, in reality, Google was keeping those funds for itself, and (xii)
13
     whether AdTrader and the members of the Classes and the Sub-Class are entitled to damages,
14
     restitution, and injunctive relief for Google’s conduct.
15
                                        FIRST CAUSE OF ACTION
16                             (Breach of Contract – AdX Publisher Contract)
                                            (Individual Claim)
17
             102.    AdTrader hereby re-incorporates and re-alleges all the preceding paragraphs as if
18
     fully set forth herein.
19
             103.    AdTrader entered into the Google Services Agreement with Google.
20
             104.    As previously alleged in greater detail, AdTrader substantially performed all of its
21
     obligations under the Google Services Agreement. AdTrader ensured that its web publisher
22
     clients only displayed content that adhered to Google’s policies on their websites. AdTrader
23
     ensured that its web publisher clients adhered to Google’s guidelines when displaying
24
     advertisements through AdX on their websites. Furthermore, Google employees confirmed on
25
     multiple occasions to AdTrader employees (in-person, by phone calls, by Internet chat, and by e-
26
     mail) that AdTrader’s publisher websites were in compliance with Google’s policies.
27
28
                                                                                              COMPLAINT
                                                     - 24 -                               CASE NO. 17-7082
       Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 25 of 50



 1
            105.    As previously alleged in greater detail, AdTrader’s substantial performance is also
 2
     evidenced by the fact that most or all of its web publisher clients that monetized their traffic
 3
     through AdTrader’s NPM AdX account are still in good standing with Google with their own
 4
     individual AdX and AdSense accounts (and Google continues to serve ads to those individual
 5
     accounts to this very day). If AdTrader were truly in violation of some Google policy, then its
 6
     individual web publishers would also be in violation of Google policies since both the websites
 7
     and policies in question are identical. But since all of their individual web publisher accounts are
 8
     in good standing, that means Google has found that none of them have violated any Google
 9
     policies. And if none of those individual web publisher accounts had violated any Google
10
     policies, then AdTrader could not have violated any Google policy either.
11
            106.    As previously alleged in greater detail, AdTrader’s substantial performance is also
12
     evidenced by the fact that it never received any prior notice from Google of a breach of the
13
     Google Services Agreement. The only contractual grounds for Google to immediately terminate
14
     the contract is if a web publisher displays pornographic content on its website, and AdTrader has
15
     never had any of its website publishers display any pornographic content.
16
            107.    As previously alleged in greater detail, AdTrader’s substantial performance is also
17
     evidenced by the fact that neither AdTrader, nor its advertising clients, have ever received a
18
     refund from Google for their advertisements placed through AdX on the websites owned by
19
     AdTrader’s web publisher clients.
20
            108.    In breach of the Google Services Agreement, Google failed to pay AdTrader for
21
     the number of valid impressions of advertisements displayed on those websites, and/or other valid
22
     events performed in connection with the display of advertisements on those websites using
23
     Google’s AdX program.
24
            109.    Per the express terms of the Google Service Agreement, Google could withhold
25
     AdTrader’s accrued AdX earnings only for “(i) invalid queries, impressions, conversions, or
26
     clicks, and (ii) any amounts refunded to advertisers in connection with Company’s failure to
27
     comply with this Agreement, as reasonably determined by Google.” Google’s notice of violation
28
                                                                                               COMPLAINT
                                                     - 25 -                                CASE NO. 17-7082
       Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 26 of 50



 1
     did not even accuse AdTrader of having invalid queries, impressions, conversions, or clicks. And
 2
     Google did not refund to advertisers the amounts it withheld from AdTrader.
 3
             110.    As a proximate result of Google’s breach of contract, AdTrader has been damaged
 4
     by $476,622.69 – the amount of the accrued AdX earnings that Google withheld from AdTrader.
 5
             111.    In addition, Google’s breach of contract has resulted in lost profits to AdTrader’s
 6
     business as a whole. AdTrader’s monetization operation for publishers has disintegrated, and
 7
     AdTrader has thus lost out on all future business from its clients. AdTrader has also lost out on
 8
     future business from other publishing clients that had reached out to the company for its products
 9
     and services.
10
             112.    Google was fully aware that its breach of contract could result in lost future profits
11
     for AdTrader. The AdX program specifically contemplates that participants would include
12
     businesses that manage monetization of on-line advertising for web publishers. It therefore is
13
     foreseeable that a failure by Google to pay NPMs the amounts owed to them under the AdX
14
     program would result in a loss of future business to those NPMs.
15
             113.    AdTrader also brings a breach of contract claim because Google has withheld all
16
     of its accrued earnings as an improper forfeiture.
17
             114.    Per the Google Service Agreement, Google could withhold only those accrued
18
     earnings that were the product of invalid activity, and could not penalize an AdX publisher by
19
     withholding all of its accrued earnings merely because some of those earnings were the result of
20
     invalid activity.
21
             115.    Indeed, by contrast, Google’s contract with its AdSense publishers (called the
22
     AdSense Terms of Service) state the exact opposite. For example, in that contract, Google
23
     expressly reserved the right to “withhold unpaid amounts” in the event it terminates that
24
     agreement due to a publisher engaging in invalid activity.
25
             116.    In breach of the Google Services Agreement, Google withheld all accrued AdX
26
     earnings from AdTrader for purported invalid activity rather than only those accrued earnings that
27
     were the product of invalid activity.
28
                                                                                              COMPLAINT
                                                     - 26 -                               CASE NO. 17-7082
       Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 27 of 50



 1
             117.    As a proximate result of Google’s breach of contract, AdTrader has been damaged
 2
     in the amount of the accrued AdX earnings that Google withheld from it that were not related to
 3
     any invalid activity on its publishers’ websites.
 4
                                    SECOND CAUSE OF ACTION
 5                  (Breach of the Implied Covenant of Good Faith and Fair Dealing
                                      – AdX Publisher Contract)
 6                                         (Individual Claim)
 7           118.    AdTrader hereby re-incorporates and re-alleges all the preceding paragraphs as if

 8   fully set forth herein.

 9           119.    Google has a duty under California law to act in good faith and deal fairly with

10   AdTrader in connection with the Google Services Agreement, as well as Google’s obligations in

11   administering the AdX advertising program.

12           120.    As previously alleged in greater detail, Google breached its duty of good faith and

13   fair dealing by arbitrarily and capriciously withholding AdTrader’s AdX earnings for alleged

14   policy violations, while simultaneously finding that AdTrader’s web publishers were (and still

15   are) in full compliance with Google’s policies despite displaying the exact same content and

16   advertising layouts.

17           121.    As previously alleged in greater detail, Google breached its duty of good faith and

18   fair dealing by refusing to provide a meaningful review of AdTrader’s internal appeal to Google

19   over their purported AdX policy violations. Forcing AdTrader to use a limited appeal form is per

20   se unreasonable. It is also unreasonable because Google’s violation notice to AdTrader was

21   exceedingly vague, yet AdTrader was expected to submit an appeal based off of this extremely

22   limited information. In fact, AdTrader requested that Google provide more detail about

23   AdTrader’s supposed policy violation so that AdTrader could provide detailed facts in support of

24   its appeal, but Google refused to provide any further information.

25           122.    As previously alleged in greater detail, Google breached its duty of good faith and

26   fair dealing because it summarily rejected AdTrader’s appeal and used an auto-generated

27   response to do so. Such actions are evidence that Google did not even seriously consider

28   AdTrader’s appeal.
                                                                                             COMPLAINT
                                                     - 27 -                              CASE NO. 17-7082
       Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 28 of 50



 1
            123.    As previously alleged in greater detail, Google breached its duty of good faith and
 2
     fair dealing because it affirmatively misrepresented to AdTrader that it could not pay out any of
 3
     AdTrader’s withheld earnings because those withheld earnings had supposedly been refunded to
 4
     Google’s advertisers.
 5
            124.    In addition, AdTrader also pleads a breach of the implied covenant claim in the
 6
     alternative in the event that it is determined that Google did not breach its contractual obligations
 7
     to AdTrader when it withheld all of their accrued AdX earnings instead of just those earnings that
 8
     were the result of invalid activity. Instead of withholding only those accrued AdX earnings
 9
     attributable to invalid activity, Google withholds all accrued AdX earnings as a matter of uniform
10
     policy. Such actions violate the implied covenant of good faith and fair dealing towards
11
     AdTrader because Google is willfully withholding accrued AdX earnings that were obtained
12
     honestly and legitimately by AdTrader.
13
            125.    Google also violated the implied covenant of good faith and fair dealing towards
14
     AdTrader because when Google withholds the entirety of an AdX publisher’s accrued earnings, it
15
     always makes this announcement on or around the day those earnings were supposed to be paid
16
     out instead of the date Google has determined that the publisher had violated a Google policy.
17
     AdTrader knows this for a fact because other such publishers have reached out to AdTrader’s
18
     representatives with similar stories of their mistreatment by Google.
19
            126.    Google deliberately forces AdTrader to expend resources and time on continuing
20
     to display AdX advertisements and acquiring traffic to its websites when Google had already
21
     internally decided it would not pay out any AdX revenue to AdTrader under any circumstances.
22
     Google does this because when it confiscates the funds from a publisher and refunds them back to
23
     the advertiser (assuming that Google does, in fact, provide such refunds), it effectively and
24
     substantially lowers that advertiser’s cost of advertising, at the publisher’s, not Google’s
25
     expense. That is, the advertiser still received the impression or click from the person who was
26
     browsing the publisher’s website, but did not have to pay for it. Through this process, Google
27
     earns substantial goodwill from its advertiser customer base, and obtains a competitive advantage
28
                                                                                              COMPLAINT
                                                     - 28 -                               CASE NO. 17-7082
       Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 29 of 50



 1
     vis-à-vis its competitors in the online advertising business who do not confiscate their publishers’
 2
     accrued earnings and kick them back to the advertiser.
 3
            127.    Google additionally violated the implied covenant of good faith and fair dealing
 4
     towards AdTrader because when Google makes the determination that it will withhold the
 5
     entirety of an AdX publisher’s accrued earnings, as a matter of policy, there is nothing that
 6
     publisher can do to get its money. During the May 24, 2017 phone call, Mr. Nakache expressly
 7
     told AdTrader that regardless of the outcome of its internal appeal with Google, Google would
 8
     not pay out AdTrader’s withheld earnings. In other words, Google could concede that it had
 9
     unjustly suspended/terminated AdTrader’s account (the account suspension/termination being the
10
     only reason why the entirety of AdTrader’s accrued earnings would be withheld), but Google
11
     would nonetheless refuse to pay AdTrader publisher what it was owed.
12
            128.    As a proximate result of Google’s breach of the implied covenant, AdTrader has
13
     been damaged by approximately $476,622.69 – the amount of the accrued AdX earnings that
14
     Google withheld from AdTrader.
15
            129.    In addition, Google’s breach of the implied covenant has resulted in lost profits to
16
     AdTrader’s business as a whole. AdTrader’s monetization operation for publishers has
17
     disintegrated, and AdTrader has thus lost out on all future business from its clients. AdTrader has
18
     also lost out on future business from other publishing clients that had reached out to the company
19
     for its products and services.
20
            130.    Google was fully aware that its breach of the implied covenant could result in lost
21
     future profits for AdTrader. The AdX program specifically contemplates that participants would
22
     include businesses that manage monetization of on-line advertising for web publishers. It
23
     therefore is foreseeable that a failure by Google to pay NPMs the amounts owed to them under
24
     the AdX program would result in a loss of future business to those NPMs.
25
26
27
28
                                                                                             COMPLAINT
                                                    - 29 -                               CASE NO. 17-7082
       Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 30 of 50



 1
                                       THIRD CAUSE OF ACTION
 2                                (Intentional Interference with Contract)
                                             (Individual Claim)
 3
             131.    AdTrader hereby re-incorporates and re-alleges all the preceding paragraphs as if
 4
     fully set forth herein.
 5
             132.    As previously alleged in greater detail, AdTrader and DingIt had a contractual
 6
     relationship. AdTrader helped DingIt optimize the monetization of its content through AdX.
 7
             133.    As previously alleged in greater detail, Google knew of the existence of
 8
     AdTrader’s contract with DingIt. AdTrader employees, on several occasions, informed Google
 9
     about the existence of this relationship and even directly introduced DingIt’s Vice President of
10
     Content & Marketing to AdTrader’s AdX account manager on May 15, 2017 after Google forced
11
     them to. In addition, DingIt informed Google on May 17, 2017 of the existence of the contractual
12
     relationship and DingIt’s intent to exclusively use AdTrader’s services to monetize its traffic
13
     through AdX going forward.
14
             134.    AdTrader also had contractual relationships with over 200 other web publishers
15
     during the period of April 1, 2017 through May 31, 2017, including but not limited to
16
     Dubizzle.com, olx.co.za, olx.com.eg., olx.qa., interez.sk, dir.bg, investor.bg, and classifiedny.com
17
     (collectively, the “Web Publishers”). Google was aware of each of these contractual
18
     relationships, because it previously required AdTrader to disclose their existence as part of its
19
     obligations as an NPM. AdTrader also helped the Web Publishers optimize the monetization of
20
     their content through AdX.
21
             135.    Google’s termination of AdTrader’s AdX account, and its decision to withhold
22
     AdTrader’s accrued AdX earnings, made AdTrader’s further performance under its contractual
23
     relationship with DingIt impossible, or at least extremely difficult. DingIt declined to further use
24
     AdTrader afterwards. AdTrader experienced similar difficulties with the Web Publishers.
25
             136.    Google knew that its actions would disrupt AdTrader’s performance under its
26
     contracts. Google had extensively worked with AdTrader for nearly four years by that point in
27
     time and knew that terminating its AdX account, or withholding any accrued AdX earnings
28
                                                                                              COMPLAINT
                                                     - 30 -                               CASE NO. 17-7082
       Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 31 of 50



 1
     (which Google knew would be remitted to AdTrader’s web publisher clients) would prevent
 2
     AdTrader from fulfilling its contractual duties to any of its Web Publisher clients, let alone
 3
     DingIt. Furthermore, Google has extensively worked with NPM managers similar to AdTrader
 4
     for years, and was familiar enough with the business model of these companies to know that
 5
     terminating the AdX accounts, or withholding accrued earnings, would cripple these businesses.
 6
            137.    On information and belief, Google intended to disrupt AdTrader’s relationship
 7
     with DingIt and with the Web Publishers. In particular, DingIt, and its parent company Level Up
 8
     Media, is one of the leading video hosting services for e-sports. Google typically has a direct
 9
     relationship with major website publishers and helps those publishers monetize their properties on
10
     AdX (i.e., the same types of services that NPMs like AdTrader provide). Google thus had
11
     financial incentives to cause DingIt to directly turn to Google for AdX services (or to a preferred
12
     AdX partner that is typically owned by ex-Google employees), and it is not a coincidence that
13
     Google terminated AdTrader’s account on May 19, 2017, only a few days after Google’s direct
14
     interactions with DingIt.
15
            138.    AdTrader was harmed as a result of Google’s interference. Google’s actions
16
     caused AdTrader to lose the DingIt account and the Web Publishers accounts, and the millions of
17
     dollars in revenue that these accounts represented. Indeed, just prior to AdTrader’s account
18
     termination, DingIt informed it that it was going to utilize AdTrader’s services that would have
19
     generated an estimated $6 million in revenue for AdTrader through the rest of 2017 by itself.
20
     And just continuing this relationship would have been worth tens of millions of dollars in annual
21
     revenue for AdTrader.
22
                                     FOURTH CAUSE OF ACTION
23                  (Intentional Interference with Prospective Economic Advantage)
                                           (Individual Claim)
24
            139.    AdTrader hereby re-incorporates and re-alleges all the preceding paragraphs as if
25
     fully set forth herein. AdTrader pleads these allegations in the alternative in the event it is
26
     determined that AdTrader did not have a contractual relationship with DingIt or any of the Web
27
     Publishers.
28
                                                                                               COMPLAINT
                                                     - 31 -                                CASE NO. 17-7082
       Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 32 of 50



 1
            140.    As previously alleged in greater detail, AdTrader and DingIt had an economic
 2
     relationship. AdTrader helped DingIt optimize the monetization of its content through AdX.
 3
     Similarly, AdTrader and the Web Publishers had an economic relationship. AdTrader helped the
 4
     Web Publishers optimize the monetization of their content through AdX.
 5
            141.    As previously alleged in greater detail, Google knew of the existence of
 6
     AdTrader’s economic relationship with DingIt, and also with the Web Publishers. AdTrader
 7
     employees, on several occasions, informed Google about the existence of this relationship and
 8
     even directly introduced DingIt’s Vice President of Content & Marketing to AdTrader’s AdX
 9
     account manager on May 15, 2017. In addition, DingIt informed Google on May 17, 2017 of the
10
     existence of the economic relationship and DingIt’s intent to exclusively use AdTrader’s services
11
     going forward. As for the Web Publishers, AdTrader had previously disclosed their existence and
12
     economic relationship to Google, as it was required to do as an NPM.
13
            142.    Google’s termination of AdTrader’s AdX account, and its decision to withhold
14
     AdTrader’s accrued AdX earnings, disrupted the economic relationship between AdTrader and
15
     DingIt. DingIt declined to further use AdTrader afterwards. This action also disrupted the
16
     economic relationship between AdTrader and the Web Publishers, and they also declined to use
17
     AdTrader afterwards.
18
            143.    Google knew that its actions would disrupt AdTrader’s relationship with DingIt
19
     and with the Web Publishers. Google had extensively worked with AdTrader for nearly four
20
     years by that point in time and knew that terminating its AdX account, or withholding any
21
     accrued AdX earnings (which Google knew would be remitted to AdTrader’s web publisher
22
     clients) would prevent AdTrader from being able to fulfill any future contractual duties to any of
23
     its Web Publisher clients, let alone DingIt. Furthermore, Google has extensively worked with
24
     NPM managers similar to AdTrader for years, and was familiar enough with the business model
25
     of these companies to know that terminating the AdX accounts, or withholding accrued earnings,
26
     would cripple these businesses.
27
28
                                                                                            COMPLAINT
                                                    - 32 -                              CASE NO. 17-7082
       Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 33 of 50



 1
            144.    On information and belief, Google intended to disrupt AdTrader’s relationship
 2
     with DingIt and with the Web Publishers. In particular, DingIt, and its parent company Level Up
 3
     Media, is one of the leading video hosting services for e-sports. Google typically has a direct
 4
     relationship with major website publishers and helps those publishers monetize their properties on
 5
     AdX (i.e., the same types of services that managers like AdTrader provide). Google thus had
 6
     financial incentives to cause DingIt to directly turn to Google for AdX services (or to a preferred
 7
     AdX partner that is typically owned by ex-Google employees), and it is not a coincidence that
 8
     Google terminated AdTrader’s account on May 19, 2017, only a few days after Google’s direct
 9
     interactions with DingIt.
10
            145.    Google engaged in independently wrongful conduct in disrupting AdTrader’s
11
     relationship with DingIt and with the Web Publishers. As previously alleged in greater detail,
12
     Google breached its implied covenant of good faith and fair dealing in terminating AdTrader’s
13
     AdX account and withholding its accrued AdX earnings. Google also deliberately provided false
14
     reasons to AdTrader for terminating its AdX account and withholding its accrued earnings,
15
     including the demonstrably false statement that all of AdTrader’s accrued AdX earnings had
16
     already been refunded to Google’s advertisers. Google’s conduct in disrupting AdTrader’s
17
     relationship with DingIt and with the Web Publishers also constitutes a violation of California’s
18
     unfair competition law, as further alleged herein.
19
            146.    AdTrader was harmed as a result of Google’s interference. Google’s actions
20
     caused AdTrader to lose the DingIt account and the Web Publishers accounts, and the millions of
21
     dollars in revenue that these accounts represented. Indeed, just prior to AdTrader’s account
22
     termination, DingIt informed it that it was going to utilize AdTrader’s services that would have
23
     generated an estimated $6 million in revenue for AdTrader through the rest of 2017 by itself.
24
     And just continuing this relationship would have been worth tens of millions of dollars in annual
25
     revenue for AdTrader.
26
27
28
                                                                                             COMPLAINT
                                                    - 33 -                               CASE NO. 17-7082
       Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 34 of 50



 1
                                         FIFTH CAUSE OF ACTION
 2                                           (Declaratory Relief)
                                     (Individual and Class Action Claims)
 3
             147.    AdTrader hereby re-incorporates and re-alleges all the preceding paragraphs as if
 4
     fully set forth herein.
 5
                               Individual Claim – Limitation of Liability provision
 6
             148.    The Google Service Agreement includes a Limitation of Liability provision that
 7
     exempts Google from liability for any “lost revenues or indirect, special, incidental,
 8
     consequential, exemplary, or punitive damages[.]” The Limitation of Liability also states that
 9
     liability is limited to no more “than the net amount that [Google] has received and retained under
10
     this Agreement during the 12 months before the claim arises.”
11
             149.    Google has invoked this Limitation of Liability clause in other lawsuits brought by
12
     AdSense or AdX publishers to argue that it owes no liability to those publishers. It is expected
13
     that Google will invoke that provision in this lawsuit as well.
14
             150.    AdTrader seek a declaration that this Limitation of Liability clause is substantively
15
     and procedurally unconscionable and therefore unenforceable under principles of California
16
     contract law.
17
             151.    The Limitation of Liability clause is substantively unconscionable because it is
18
     transparently one-sided in favor of Google. There are no instances in which an AdX publisher
19
     could engage in conduct that could cause “consequential, special, indirect, exemplary or punitive”
20
     damages to Google. These terms therefore operate only for Google’s benefit and to the detriment
21
     of AdX publishers.
22
             152.    If there were any means by which an AdX publisher’s conduct could conceivably
23
     cause more-than-compensatory damages to Google, Google has expressly exempted such
24
     examples from the Limitation of Liability clause. For example, the Google Services Agreement
25
     explicitly excludes from the Limitations of Liability clause “breaches of confidentiality
26
     obligations contained in this Agreement, violations of a party’s Intellectual Property Rights by the
27
     other party, or indemnification obligations contained in this Agreement[.]” Each of the examples
28
                                                                                              COMPLAINT
                                                      - 34 -                              CASE NO. 17-7082
       Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 35 of 50



 1
     inures solely to the benefit of Google. No publisher could possibly disclose confidential
 2
     information to Google (as their entire business model is to publish content on the Internet),
 3
     whereas Google regards even their most banal internal e-mails to be confidential (as evidenced by
 4
     the fact that in every lawsuit it is involved in, Google marks almost all of its internal documents
 5
     to be “Confidential” or “Attorney’s Eyes Only” regardless of the actual content of those
 6
     documents). Similarly, Google is not in any conceivable position to violate any intellectual
 7
     property rights held by a publisher whereas the various AdX platforms and their interfaces are
 8
     considered by Google to be their proprietary intellectual property. The examples of
 9
     indemnification provided in the agreement also make it clear that there is no likely scenario where
10
     a publisher could require Google to provide indemnification from a third-party lawsuit. Thus, the
11
     Limitations of Liability are authored to give off the illusion of bilateralism, but in substance
12
     operate solely to prevent publishers from recovering their damages due to Google’s wrongful
13
     conduct.
14
              153.   The Limitation of Liability clause is procedurally unconscionable for many
15
     reasons, including that it is presented as a take-it-or-leave it provision to AdX publishers. And
16
     given that Google has a virtual monopoly in the field of on-line advertising, anyone who wishes
17
     to monetize their websites through advertising has to use AdX (or AdSense, which has a virtually
18
     identical Limitation of Liability clause).
19
                Class Action Claim – AdWords Advertisers Sub-Class – Arbitration Agreement
20
              154.   AdTrader also seeks declaratory relief on behalf of the AdWords Advertisers Sub-
21
     Class.
22
              155.   As previously alleged in greater detail, on or around September 1, 2017, Google
23
     suddenly changed the terms of the contract governing its relationship with AdWords advertisers –
24
     the Google Inc. Advertising Program Terms. The primary change it effected to this agreement
25
     was that AdWords advertisers were now required to arbitrate their disputes with Google and were
26
     precluded from bringing any class actions against Google.
27
28
                                                                                               COMPLAINT
                                                     - 35 -                                CASE NO. 17-7082
       Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 36 of 50



 1
            156.    Google made such changes directly in response to the August 25, 2017 Wall Street
 2
     Journal article exposing that Google only refunded to its advertisers a fraction of the fees it
 3
     collected from ad traffic run through DBM that Google had internally determined to be fraudulent
 4
     or otherwise invalid. Google’s practice was at odds with its repeated representations to publishers
 5
     that all accrued ad revenues that Google withheld from payment had already been refunded back
 6
     to its advertisers, and with Google’s repeated representations to advertisers that it issues credits to
 7
     them for clicks later determined by Google to be invalid.
 8
            157.    AdTrader seeks a declaration, on behalf of all members of the AdWords
 9
     Advertisers Sub-Class, that this new arbitration clause is substantively and procedurally
10
     unconscionable. To the extent this clause requires the AdWords Advertisers Sub-Class to
11
     arbitrate any disputes with Google arising prior to the effective date of this arbitration clause, it is
12
     unenforceable under principles of California contract law. Importantly, AdTrader does not seek
13
     to invalidate the arbitration clause with respect to prospective claims by the AdWords Advertisers
14
     Sub-Class, only to retrospective claims.
15
            158.    The new arbitration clause is substantively unconscionable because it is
16
     transparently one-sided in favor of Google. As stated earlier, Google immediately pushed
17
     through this revision directly in response to the public exposure of its fraudulent practices in order
18
     to prevent its aggrieved advertisers from taking legal action. Moreover, the average member of
19
     the AdWords Advertisers Sub-Class would not have enough in the value of their individual
20
     claims to justify the costs of hiring an attorney to pursue those claims (especially since there is no
21
     attorney fee shifting provision in the Google Inc. Advertising Program Terms), and thus the class
22
     action waiver transparently operates to deprive them of their ability to get meaningful redress.
23
            159.    The new arbitration clause is also substantively unconscionable because it applies
24
     retrospectively to all claims possessed by a member of the AdWords Advertisers Sub-Class even
25
     though those other claims were governed under a different iteration of the Google Inc.
26
     Advertising Program Terms.
27
28
                                                                                                COMPLAINT
                                                      - 36 -                                CASE NO. 17-7082
       Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 37 of 50



 1
             160.    The new arbitration clause is procedurally unconscionable for many reasons, not
 2
     least of which it is presented as a take-it-or-leave it provision to the members of the AdWords
 3
     Advertisers Sub-Class. In particular, Google told sub-class members that if they chose not to
 4
     accept the new terms and conditions, Google would suspend all of their advertisements on
 5
     Google’s advertising platforms. These sub-class members had spent years and countless funds on
 6
     utilizing and acclimating to Google’s platforms, yet all of that work and money would have been
 7
     rendered pointless unless they agreed to surrender their rights to seek legal redress against
 8
     Google.
 9
             161.    Finally, AdTrader additionally seeks a declaration that Google’s new arbitration
10
     clause is invalid, to the extent it requires arbitration of retrospective claims against Google, on
11
     grounds of breach of contract, breach of the implied covenant of good faith and fair dealing, and
12
     fraud. As previously alleged in greater detail, in all prior iterations of the Google Inc. Advertising
13
     Program Terms, Google specifically represented to everyone that any “changes to the Terms will
14
     not apply retroactively[.]” AdTrader, and all other members of the AdWords Advertisers Sub-
15
     Class, relied on this express contractual representation by Google in deciding to sign up for, and
16
     continue using AdWords, because Google had promised it would not retroactively change the
17
     terms of its contract.
18
                                       SIXTH CAUSE OF ACTION
19                                               (Fraud)
                                          (Class Action Claim)
20
             162.    AdTrader hereby re-incorporates and re-alleges all the preceding paragraphs as if
21
     fully set forth herein.
22
             163.    AdTrader brings this claim of fraud on behalf of itself and all members of the
23
     Advertiser Class.
24
             164.    As previously alleged in greater detail, Google represented to AdTrader, and all
25
     other members of the Advertiser Class, that it performed “offline analysis” of its advertising
26
     networks to ascertain whether any clicks on an advertisement was invalid.” Google also
27
28
                                                                                               COMPLAINT
                                                     - 37 -                                CASE NO. 17-7082
       Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 38 of 50



 1
     represented to AdTrader, and all other members of the Advertiser Class, that it would refund or
 2
     give credits to them for invalid impressions and clicks.
 3
            165.    As previously alleged in greater detail, Google’s representations were made to
 4
     AdTrader, and all other members of the Advertiser Class when they first entered into the
 5
     DoubleClick Advertising Platform Agreement, the DoubleClick Ad Exchange Master Service
 6
     Agreement, and/or the Google Inc. Advertising Program Terms, and was continually reaffirmed
 7
     by Google afterwards.
 8
            166.    As previously alleged in greater detail, Google’s representations were false. As
 9
     Google employee Paschal Pradeep confirmed to AdTrader on June 2, 2017, in DBM, there was
10
     actually no way for Google or anyone else to check on invalid impressions and clicks (i.e., the
11
     “offline analysis” mentioned in Google’s representation) because DBM only does real-time
12
     filtering of invalid impressions and clicks.
13
            167.    As previously alleged in greater detail, Google’s representations were also false
14
     because it does not provide any credits or refunds to advertisers for impressions or clicks that
15
     Google has represented to its publishers as having been fraudulent or otherwise invalid.
16
     AdTrader and its advertising partners have never received any credits or refunds for invalid clicks
17
     or impressions even though (i) Google disabled AdTrader’s NPM publisher account and withheld
18
     $476,622.69 in accrued earnings for supposedly invalid activity and (ii) every month, Google
19
     would adjust AdTrader’s accrued earnings (or the earnings of AdTrader’s publisher clients
20
     accrued on their individual AdX or AdSense accounts) by a small amount to reflect deductions
21
     for supposedly invalid activity.
22
            168.    And as revealed in the August 25, 2017 Wall Street Journal article, Google is
23
     refunding to its advertisers only 7-10% of the amounts they paid to Google for advertisements
24
     that were served to invalid traffic rather than the entire amount. In fact, even Google’s stated
25
     reason for limiting refunds to 7-10% of the total amount paid for invalid traffic – that Google
26
     “doesn’t control the rest of the money spent” – is itself false, as Google confiscated all of the
27
     accrued earnings of AdTrader, as well as other AdX publishers, whenever it accuses them of
28
                                                                                               COMPLAINT
                                                     - 38 -                                CASE NO. 17-7082
       Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 39 of 50



 1
     having invalid activity on their websites. So while Google is claiming to publishers that it cannot
 2
     pay out the entirety of their accrued earnings because such amounts have already been refunded
 3
     to advertisers, it is simultaneously claiming to advertisers that it is able to refund them only a
 4
     fraction of that amount. Google appears to be keeping the difference for itself.
 5
            169.    Google knew that its representations were false when made, or at the very least,
 6
     made those representations recklessly and without regard for their truth. Having developed and
 7
     operated the DBM and AdWords software, Google obviously was well aware at all times that (i)
 8
     it does not perform any “offline analysis” of invalid activity and (ii) Google’s practice was to
 9
     keep all, or almost all, of the confiscated earnings from its AdX and AdSense publishers. To this
10
     very day, Google continues to make the same misrepresentations on its webpages.
11
            170.    Further reflecting on its inherent corporate mentality, Google was also recently
12
     given a record fine (€2.42 billion) by the European Commission for manipulating its Google
13
     Shopping results, and there is an ongoing European Commission investigation over its
14
     manipulation of results for its AdSense for Search program.
15
            171.    Google intended to have AdTrader and the members of the Advertiser Class rely
16
     on its representations. As stated already, Google representatives repeatedly refer customers and
17
     potential customers to its webpages whenever those customers have questions about how Google
18
     is ensuring that their advertising spend is not being wasted on fraudulent or invalid traffic. In
19
     particular, referring existing advertisers to these webpages is meant to assuage their concerns
20
     about invalid clicks so that they continue to participate in AdX or AdWords and continue to pay
21
     Google for on-line advertising.
22
            172.    AdTrader and the members of the Advertiser Class reasonably relied upon
23
     Google’s representations. It is obvious that Google has superior knowledge of its DBM and
24
     AdWords software compared to anyone else, and thus its statements about that technology were
25
     viewed by everyone as authoritative and truthful. Moreover, it was not until August 25, 2017 that
26
     it became public knowledge that Google did not give complete refunds or credits to its advertisers
27
     for payments that were triggered by what it had determined to be invalid activity.
28
                                                                                               COMPLAINT
                                                      - 39 -                               CASE NO. 17-7082
       Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 40 of 50



 1
             173.     AdTrader and the members of the Advertiser Class were damaged by Google’s
 2
     fraudulent conduct. They spent advertising funds on user traffic that Google claims (to its
 3
     publishers anyway) to have been invalid and therefore derived no benefit from those
 4
     expenditures, yet Google did not refund or credit those funds back to the advertisers as Google
 5
     had promised. Instead, Google kept such funds for itself.
 6
             174.    AdTrader and the other members of the Advertiser Class’s reliance on Google’s
 7
     representation was a substantial factor in causing their harm. All of them would have chosen to
 8
     not buy ad space through Google platforms, or would have at least spent less money on those
 9
     platforms and increased their expenditures on competing platforms, had they known that Google
10
     would keep for itself all of their expenditures on user traffic that were fraudulent or otherwise
11
     invalid.
12
                                     SEVENTH CAUSE OF ACTION
13                                    (Negligent Misrepresentation)
                                          (Class Action Claim)
14
             175.    AdTrader hereby re-incorporates and re-alleges all the preceding paragraphs as if
15
     fully set forth herein.
16
             176.    AdTrader brings this claim of negligent misrepresentation on behalf of itself and
17
     all members of the Advertiser Class.
18
             177.    As previously alleged in greater detail, Google represented to AdTrader, and all
19
     other members of the Advertiser Class, that it performed “offline analysis” of its advertising
20
     networks to ascertain whether clicks on an advertisement were invalid. Google also represented
21
     to AdTrader, and all other members of the Advertiser Class, that it would refund or give credits to
22
     them for invalid impressions and clicks.
23
             178.    As previously alleged in greater detail, Google’s representations were made to
24
     AdTrader, and all other members of the Advertiser Class when they first entered into the
25
     DoubleClick Advertising Platform Agreement, the DoubleClick Ad Exchange Master Service
26
     Agreement, and/or the Google Inc. Advertising Program Terms, and were continually reaffirmed
27
     by Google afterwards.
28
                                                                                              COMPLAINT
                                                     - 40 -                               CASE NO. 17-7082
       Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 41 of 50



 1
            179.    As previously alleged in greater detail, Google’s representations were false. As
 2
     Google employee Paschal Pradeep confirmed to AdTrader on June 2, 2017, in DBM, there was
 3
     actually no way for Google or anyone else to check on invalid impressions and clicks (i.e., the
 4
     “offline analysis” mentioned in Google’s representation) because DBM only does real-time
 5
     filtering of invalid impressions and clicks.
 6
            180.    As previously alleged in greater detail, Google’s representations were also false
 7
     because it does not provide any credits or refunds to advertisers for impressions or clicks that
 8
     Google has represented to its publishers as having been fraudulent or otherwise invalid.
 9
     AdTrader and its advertising partners have never received any credits or refunds for invalid clicks
10
     or impressions even though (i) Google disabled AdTrader’s NPM publisher account and withheld
11
     $476,622.69 in accrued earnings for supposedly invalid activity and (ii) every month, Google
12
     would adjust AdTrader’s accrued earnings (or the earnings of AdTrader’s publisher clients
13
     accrued on their individual AdX or AdSense accounts) by a small amount to reflect deductions
14
     for supposedly invalid activity.
15
            181.    And as revealed in the August 25, 2017 Wall Street Journal article, Google is
16
     refunding to its advertisers only 7-10% of the amounts they paid to Google for advertisements
17
     that were served to invalid traffic rather than the entire amount. In fact, even Google’s stated
18
     reason for limiting refunds to 7-10% of the total amount spent – that Google “doesn’t control the
19
     rest of the money spent” – is itself false, as Google confiscates all of the accrued earnings of
20
     AdTrader, as well as other AdX publishers, whenever it accuses them of having invalid activity
21
     on their websites. So while Google is claiming to publishers that it cannot pay out the entirety of
22
     their accrued earnings because such amounts have already been refunded to advertisers, it is
23
     simultaneously claiming to advertisers that it is able to refund them only a fraction of that
24
     amount. Google appears to be keeping the difference for itself.
25
            182.    Google knew that it had no reasonable grounds for believing its representations
26
     were true when it made those representations. Having developed and operated the DBM and
27
     AdWords software, Google obviously was well aware at all times that (i) it does not perform any
28
                                                                                              COMPLAINT
                                                     - 41 -                               CASE NO. 17-7082
       Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 42 of 50



 1
     “offline analysis” of invalid activity and (ii) Google’s practice was to keep all, or almost all, of
 2
     the confiscated earnings from its AdX and AdSense publishers. To this very day, Google
 3
     continues to make the same misrepresentations on its webpages.
 4
            183.    Google was also recently given a record fine (€2.42 billion) by the European
 5
     Commission for manipulating its Google Shopping results, and there is an ongoing European
 6
     Commission investigation over its manipulation of results for its AdSense for Search program.
 7
            184.    Google intended to have AdTrader and the members of the Advertiser Class rely
 8
     on its representations. As stated already, Google representatives repeatedly refer customers and
 9
     potential customers to its webpages whenever those customers have questions about how Google
10
     is ensuring that their advertising spend is not being wasted on fraudulent or invalid traffic. In
11
     particular, referring existing advertisers to these webpages is meant to assuage their concerns
12
     about invalid clicks so that they continue to participate in AdX or AdWords and continue to pay
13
     Google for on-line advertising.
14
            185.    AdTrader and the members of the Advertiser Class reasonably relied upon
15
     Google’s representations. It is obvious that Google has superior knowledge of its DBM and
16
     AdWords software compared to anyone else, and thus its statements about that technology were
17
     viewed by everyone as authoritative and truthful. Moreover, it was not until August 25, 2017 that
18
     it became public knowledge that Google did not give complete refunds or credits to its advertisers
19
     for payments that were triggered by what it had determined to be invalid activity.
20
            186.     AdTrader and the members of the Advertiser Class were damaged by Google’s
21
     fraudulent conduct. They spent advertising funds on user traffic that Google claims (to its
22
     publishers anyway) to be invalid and therefore derived no benefit from those expenditures, yet
23
     Google did not refund or credit those funds back to them as Google had promised. Instead,
24
     Google kept such funds for itself.
25
            187.    AdTrader and the other members of the Advertiser Class’s reliance on Google’s
26
     representation was a substantial factor in causing their harm. All of them would have chosen to
27
     not buy ad space through Google platforms, or would have at least spent less money on those
28
                                                                                               COMPLAINT
                                                      - 42 -                               CASE NO. 17-7082
       Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 43 of 50



 1
     platforms and increased their expenditures on competing platforms, had they known that Google
 2
     would keep for itself all of their expenditures on user traffic that was fraudulent or otherwise
 3
     invalid.
 4
                                      EIGHTH CAUSE OF ACTION
 5                                    (California Penal Code § 496(c))
                                            (Class Action Claim)
 6
              188.   AdTrader hereby re-incorporates and re-alleges all the preceding paragraphs as if
 7
     fully set forth herein.
 8
              189.   Under California law, a party may bring a private right of action against a
 9
     defendant that fraudulently obtains that party’s property (including money) by means of
10
     deception. AdTrader hereby brings such a claim on behalf of itself and the other members of the
11
     Advertiser Class.
12
              190.   As previously alleged in greater detail, Google’s actions in inducing AdTrader,
13
     and the other members of the Advertiser Class, into spending advertising funds on the DBM and
14
     AdWords platforms constitute theft by deception under California law.
15
              191.   As previously alleged in greater detail, AdTrader, and the other members of the
16
     Advertiser Class, have been damaged as a result of Google’s deception. Accordingly, they are
17
     entitled to treble damages and attorney’s fees as a result.
18
                                     NINTH CAUSE OF ACTION
19                   (Breach of Contract – AdX and AdWords Advertiser Contracts)
                                          (Class Action Claim)
20
              192.   AdTrader hereby re-incorporates and re-alleges all the preceding paragraphs as if
21
     fully set forth herein.
22
              193.   AdTrader brings this claim of breach of the DoubleClick Advertising Platform
23
     Agreement, breach of the DoubleClick Ad Exchange Master Service Agreement, and breach of
24
     the Google Inc. Advertising Program Terms, on behalf of itself and all members of the Advertiser
25
     Class.
26
27
28
                                                                                              COMPLAINT
                                                     - 43 -                               CASE NO. 17-7082
       Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 44 of 50



 1
            194.    AdTrader, and the other members of the Advertiser Class, had entered into the
 2
     DoubleClick Advertising Platform Agreement, the DoubleClick Ad Exchange Master Service
 3
     Agreement, and/or the Google Inc. Advertising Program Terms.
 4
            195.    AdTrader, and the other members of the Advertiser Class, had substantially
 5
     performed under the DoubleClick Advertising Platform Agreement, the DoubleClick Ad
 6
     Exchange Master Service Agreement, and/or the Google Inc. Advertising Program Terms. The
 7
     key requirements of those contracts were that AdTrader, and the other members of the Advertiser
 8
     Class, (i) provided advertisements that complied with Google’s policies and regulations and (ii)
 9
     paid Google in timely fashion after Google invoiced them for its services. AdTrader, and the
10
     other members of the Advertiser Class, met both of these obligations at all times.
11
            196.    As previously alleged in greater detail, Google represented to AdTrader, and all
12
     other members of the Advertiser Class, that it performed “offline analysis” of its advertising
13
     networks to ascertain whether any clicks on an advertisement were invalid. Google also
14
     represented to AdTrader, and all other members of the Advertiser Class, that it would refund or
15
     give credits to them for invalid impressions and clicks.
16
            197.    As previously alleged in greater detail, Google’s representations were made to
17
     AdTrader, and all other members of the Advertiser Class when they first entered into the
18
     DoubleClick Advertising Platform Agreement, the DoubleClick Ad Exchange Master Service
19
     Agreement, and/or the Google Inc. Advertising Program Terms, and were continually reaffirmed
20
     by Google afterwards.
21
            198.    The DoubleClick Advertising Platform Agreement does not have any language
22
     whatsoever relating to the parties’ obligations when Google discovers that its advertisers had
23
     spent money on websites Google determined to have had fraudulent or invalid traffic.
24
     Accordingly, Google’s promise that it would refund or provide credits to advertisers in such
25
     circumstances (which was repeated after the parties entered into this contract) is either an implied
26
     term of the contract, or is a modification of the contract as a result of Google’s subsequent
27
     conduct.
28
                                                                                              COMPLAINT
                                                    - 44 -                                CASE NO. 17-7082
       Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 45 of 50



 1
             199.    Furthermore, the DoubleClick Advertising Platform Agreement is governed by
 2
     New York law according to its terms. Under New York law, all contracts as a matter of law have
 3
     implied terms mandating good faith and a promise that each party will use reasonable efforts to
 4
     allow the other to realize the benefits of the contract. As previously alleged in greater detail,
 5
     Google has breached these implied terms by not providing refunds or credits to AdTrader and the
 6
     other members of the Advertiser Class.
 7
             200.    The DoubleClick Ad Exchange Master Service Agreement has language
 8
     addressing the parties’ obligations specifically for (i) click fraud (ii) that is detected through a
 9
     reactive investigation. There is no language regarding the parties’ obligations when Google
10
     discovers through its “offline” investigations that its advertisers have spent money on invalid
11
     traffic (that did not constitute click fraud). Accordingly, Google’s promise that it would refund or
12
     provide credits to advertisers in such circumstances (which was repeated after the parties entered
13
     into this contract) is either an implied term of the contract, or is a modification of the contract as a
14
     result of Google’s subsequent conduct. Moreover, Google’s repeated promises has also resulted
15
     in a modification of the contract with respect to the parties’ obligations specifically for (i) click
16
     fraud (ii) that is detected through a reactive investigation.
17
             201.    The Google Inc. Advertising Program Terms has language addressing the parties’
18
     obligations specifically for (i) click fraud (ii) that is detected through a reactive investigation.
19
     There is no language regarding the parties’ obligations when Google discovers through its
20
     “offline” investigations that its advertisers had spent money on invalid traffic (that did not
21
     constitute click fraud). Accordingly, Google’s promise that it would refund or provide credits to
22
     advertisers in such circumstances (which was repeated after the parties entered into this contract)
23
     is either an implied term of the contract, or is a modification of the contract as a result of
24
     Google’s subsequent conduct. Moreover, Google’s repeated promises have also resulted in a
25
     modification of the contract with respect to the parties’ obligations specifically for (i) click fraud
26
     (ii) that is detected through a reactive investigation.
27
28
                                                                                                 COMPLAINT
                                                      - 45 -                                 CASE NO. 17-7082
       Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 46 of 50



 1
             202.    As previously alleged in greater detail, Google breached all of these contracts
 2
     because it does not provide any credits or refunds to advertisers for clicks that Google has
 3
     represented to its publishers as having been fraudulent or otherwise invalid. AdTrader and its
 4
     advertising partners have never received any credits or refunds for invalid clicks or impressions
 5
     (whether those ads were placed through DBM or AdWords), even though (i) Google disabled
 6
     AdTrader’s NPM publisher account and withheld $476,622.69 in accrued earnings for supposedly
 7
     invalid activity and (ii) every month, Google would adjust AdTrader’s accrued earnings (or the
 8
     earnings of AdTrader’s publisher clients accrued on their individual AdX or AdSense accounts)
 9
     by a small amount to reflect deductions for supposedly invalid activity.
10
             203.    And as revealed in the August 25, 2017 Wall Street Journal article, Google is
11
     refunding to its advertisers only 7-10% of the amounts they paid to Google for advertisements
12
     that were served to invalid traffic rather than the entire amount. In fact, even Google’s stated
13
     reason for limiting refunds to 7-10% of the total amount spent – that Google “doesn’t control the
14
     rest of the money spent” – is itself false, as Google confiscates all of the accrued earnings of
15
     AdTrader, as well as other AdX publishers, whenever it accuses them of having invalid activity
16
     on their websites. Moreover, it was not until August 25, 2017 that it became public knowledge
17
     that Google did not give complete refunds or credits to its advertisers for payments that were
18
     triggered by what it had determined to be invalid activity.
19
             204.     As a proximate result of Google’s breaches of the contracts, AdTrader, and the
20
     other members of the Advertiser Class, have been damaged by not receiving the refunds or credits
21
     owed to them by Google.
22
                                       TENTH CAUSE OF ACTION
23                                        (Unjust Enrichment)
                                          (Class Action Claim)
24
             205.    AdTrader hereby re-incorporates and re-alleges all the preceding paragraphs as if
25
     fully set forth herein.
26
             206.    AdTrader brings this claim of unjust enrichment, on behalf of itself and all
27
     members of the Advertiser Class, in the alternative should the Court find that the DoubleClick
28
                                                                                              COMPLAINT
                                                     - 46 -                               CASE NO. 17-7082
       Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 47 of 50



 1
     Advertising Platform Agreement, the DoubleClick Ad Exchange Master Service Agreement, or
 2
     the Google Inc. Advertising Program Terms do not impose a contractual obligation by Google to
 3
     give refunds or credits to its advertisers for invalid clicks.
 4
             207.    As previously alleged in greater detail, Google represented to AdTrader, and all
 5
     other members of the Advertiser Class, that it performed “offline analysis” of its advertising
 6
     networks to ascertain whether any clicks on an advertisement were invalid. Google also
 7
     represented to AdTrader, and all other members of the Advertiser Class, that it would refund or
 8
     give credits to them for invalid impressions and clicks.
 9
             208.    As previously alleged in greater detail, Google’s representations were made to
10
     AdTrader, and all other members of the Advertiser Class when they first entered into the
11
     DoubleClick Advertising Platform Agreement, the DoubleClick Ad Exchange Master Service
12
     Agreement, and/or the Google Inc. Advertising Program Terms, and was continually reaffirmed
13
     by Google afterwards.
14
             209.    As previously alleged in greater detail, Google’s representation was false because
15
     it does not provide any credits or refunds to advertisers for clicks that Google has represented to
16
     its publishers as having been fraudulent or otherwise invalid. AdTrader and its advertising
17
     partners have never received any credits or refunds for invalid clicks or impressions (whether
18
     those ads were placed through DBM or AdWords), even though (i) Google disabled AdTrader’s
19
     NPM publisher account and withheld $476,622.69 in accrued earnings for supposedly invalid
20
     activity and (ii) every month, Google would adjust AdTrader’s accrued earnings (or the earnings
21
     of AdTrader’s publisher clients accrued on their individual AdX or AdSense accounts) by a small
22
     amount to reflect deductions for supposedly invalid activity.
23
             210.    And as revealed in the August 25, 2017 Wall Street Journal article, Google is
24
     refunding to its advertisers only 7-10% of the amounts they paid to Google for advertisements
25
     that were served to invalid traffic rather than the entire amount. In fact, even Google’s stated
26
     reason for limiting refunds to 7-10% of the total amount spent – that Google “doesn’t control the
27
     rest of the money spent” – is itself false, as Google confiscates all of the accrued earnings of
28
                                                                                              COMPLAINT
                                                       - 47 -                             CASE NO. 17-7082
       Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 48 of 50



 1
     AdTrader, as well as other AdX publishers, whenever it accuses them of having invalid activity
 2
     on their websites. So while Google is claiming to publishers that it cannot pay out the entirety of
 3
     their accrued earnings because such amounts have already been refunded to advertisers, it is
 4
     simultaneously claiming to advertisers that it is able to refund them only a fraction of that
 5
     amount. Google appears to be keeping the difference for itself.
 6
             211.    Google has been unjustly enriched by keeping for itself all advertising funds that
 7
     were spent on invalid traffic instead of refunding those amounts back to AdTrader and the other
 8
     members of the Advertiser Class.
 9
             212.    AdTrader and the other members of the Advertiser Class are accordingly entitled
10
     to restitution equal to the amount of funds that Google refused to pay out to its AdX and AdSense
11
     publishers, but that Google kept for itself instead of refunding back to AdTrader and the other
12
     members of the Advertiser Class.
13
                                    ELEVENTH CAUSE OF ACTION
14                                     (Unfair Competition Law)
                                         (Class Action Claim)
15
             213.    AdTrader hereby re-incorporates and re-alleges all the preceding paragraphs as if
16
     fully set forth herein.
17
             214.    AdTrader brings this claim under California Business & Professions Code §§
18
     17200, et seq. on behalf of itself and all members of the Advertiser Class.
19
             215.    As previously alleged in greater detail, Google’s actions and systematic conduct
20
     towards AdTrader and the other members of the Advertiser Classes constitute unlawful business
21
     practices towards them within the meaning of California Business & Professions Code § 17200.
22
             216.    As previously alleged in greater detail, Google’s actions and systematic conduct
23
     towards AdTrader and the other members of the Advertiser Class constitute unfair business
24
     practices towards them within the meaning of California Business & Professions Code § 17200.
25
             217.    As previously alleged in greater detail, Google’s actions and systematic conduct
26
     towards AdTrader and the other members of the Advertiser Class constitute fraudulent business
27
     practices towards them within the meaning of California Business & Professions Code § 17200.
28
                                                                                              COMPLAINT
                                                     - 48 -                               CASE NO. 17-7082
       Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 49 of 50



 1
             218.    As previously alleged in greater detail, Google’s actions and systematic conduct
 2
     towards AdTrader and the other members of the Advertiser Class constitute “unfair, deceptive,
 3
     untrue, or misleading advertising” towards them within the meaning of California Business &
 4
     Professions Code § 17200. Google’s webpages constitute a form of advertising within the
 5
     meaning of that law, as the webpages consist of statements made by Google in connection with
 6
     the offering of its services.
 7
             219.    AdTrader, and the members of the Advertiser Class are accordingly entitled to
 8
     restitution and injunctive relief as a remedy for Google’s violations of the unfair competition law.
 9
                                                   PRAYER
10
             WHEREFORE, Plaintiff AdTrader, Inc. prays for judgment as follows:
11
             1.      For judgment against defendant Google, LLC;
12
             2.      For compensatory and special damages;
13
             3.      For treble damages;
14
             4.      For punitive damages;
15
             5.      For declaratory relief;
16
             6.      For restitution;
17
             7.      For a permanent injunction;
18
             8.      For pre-judgment interest;
19
             9.      For attorney’s fees and costs; and
20
             10.     For such other and further relief as the Court deems just and proper.
21
22
              Dated: December 13, 2017                    GAW | POE LLP
23
24
                                                          By:
25                                                              Randolph Gaw
                                                                Attorneys for Plaintiff AdTrader, Inc.
26
27
28
                                                                                             COMPLAINT
                                                     - 49 -                              CASE NO. 17-7082
       Case 5:17-cv-07082-BLF Document 1 Filed 12/13/17 Page 50 of 50



 1
                                           JURY DEMAND
 2
           Plaintiff AdTrader, Inc. hereby demands a jury trial for its claims against defendant
 3
     Google, LLC.
 4
 5
            Dated: December 13, 2017                   GAW | POE LLP
 6
 7
                                                       By:
 8                                                            Randolph Gaw
                                                              Attorneys for Plaintiff AdTrader, Inc.
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                                                           COMPLAINT
                                                  - 50 -                               CASE NO. 17-7082
